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           MSOHANCE
ADMIRAL    GROUP, LLC,
                          Policyholder Message


Named Insured:           THE FRATERNITY OF PHI                           Policy Number:   CA000017478-07
                         GAMMA DELTA INC

Dear Policyholder:

Our Corporate Headquarters’ and Northeast Regional Branch Office mailing address is:

                 Admiral Insurance Company (A Berkley Company)
                 Mt. Laurel Corporate Park
                 1000 Howard Blvd., Suite 300, P.O. Box 5430
                 Mt. Laurel, NJ 08054

Our telephone number:

General:                 (856) 429 - 9200

If you need to report a claim please direct it:

I.       By regular or overnight mail to;

                 Admiral Insurance Company (A Berkley Company)
                 Mt. Laurel Corporate Park
                 1000 Howard Blvd., Suite 300 P.O. Box 5430
                 Mt. Laurel, NJ 08054
                 Attention: New Claim
                 Clearly state it is a "NEW CLAIM".

II.      By Email to;

                 admclaims@admiralins.com
                 Do not email claims to ANY claims individual.
III.     By FAX to;

                 Fax #: (856) 429-3630
                 Attention: New Claim
                 Clearly state it is a "NEW CLAIM".




                                            t a IV. R. Berkley Company

FM30110215                                  0                                                    Page 1 of 1   □




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                                 ADMIRAL INSURANCE
                                     COMPANY
                                                      A Stock Company




       COMMERCIAL LINES POLICY
       THIS POLICY IS NOT OBTAINED PRIMARILY FOR PERSONAL, FAMILY
       OR HOUSEHOLD PURPOSES.




       THIS POLICY CONSISTS OF:

       - DECLARATIONS
       - COMMON POLICY CONDITIONS
       - ONE OR MORE COVERAGE PARTS. A COVERAGE PART CONSISTS OF:

           - ONE OR MORE COVERAGE FORMS
           - APPLICABLE FORMS AND ENDORSEMENTS




In Witness Whereof, we have caused this policy to be executed and attested, and, if required by state law, this policy
shall not be valid unless countersigned by our authorized representative.




1000 Howard Blvd., Suite 300, P.O. Box 5430   Mt. Laurel, NJ 08054     Telephone (856) 429-9200 Facsimile (856) 429-8611
 JA1001 (03/13)                                  Li ^ R' BerkleV Company
                                                  ©


                                                      A-2
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Policy Number: CA000017478-07                                              AI80 00 09 17

                                                                Effective Date: 03/01/2019

                                     ADMIRAL



Named Insured:    THE FRATERNITY OF PHI GAMMA DELTA INC

                        IMPORTANT - POLICYHOLDER NOTICES


                                Form Intentionally Left Blank




 AI 80 00 09 17                                                                    Page 1 of 1   □
                                           A-3
  Case 3:22-cv-01196-BEN-DDL Document 1-2 Filed 08/16/22 PageID.19 Page 4 of 69
   ADMIRAL INSURANCE COMPANY                             COMMON POLICY
                                                                                                 DECLARATIONS
                 A STOCK COMPANY
                 (herein called the Company)


Policy No.:     CA000017478-07                                             Renewal/Rewrite of:                    CA000017478-06
Named Insured and Mailing Address
THE FRATERNITY OF PHI GAMMA DELTA INC
C/O NATIONAL CORPORATE RESEARCH
3310 BUSY BEE LANE
INDIANAPOLIS, IN 46227



POLICY PERIOD:       From       03/01/2019       to   03/01/2020    Atl2:01 A.M.StandardTimeattheaddressoftheNamedlnsuredasstatedherein

THE NAMED INSURED IS:                    Other

BUSINESS DESCRIPTION:                    NATIONAL FRATERNITY

AUDIT PERIOD:                            Not Applicable

IN RETURN FOR THE PAYMENT OF THE PREMIUM AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGES FOR WHICH A PREMIUM IS INDICATED. THIS PREMIUM
MAY BE SUBJECT TO ADJUSTMENT.
                                                                                                                          REDACTED
Commercial General Liability Coverage

Products/Completed Operations Liability Coverage

                                                                                               PREMIUM:

                                                                                    TERRORISM PREMIUM:

                                                                                        TOTAL PREMIUM:


Form(s) and Endorsements) made a part of this policy at inception:
REFER TO SCHEDULE OF FORMS, AI00 18 03 98

This policy is not binding unless countersigned by Admiral Insurance Company or its authorized representative.


 Countersigned On:                   2/26/2019

                At: ________ Mount Laurel, NJ

THESE COMMON POLICY DECLARATIONS AND THE COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS (OR
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART DECLARATIONS), TOGETHER WITH THE COMMON POLICY CONDITIONS,
COVERAGE PART(S), FORM(S) AND ENDORSEMENT(S), IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED
POLICY.




                                                          walV.R. Berkley Company
DE20010700                                                vD                                                                 Page 1 of 1



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   ADMIRAL INSURANCE COMPANY                    COMMERCIAL GENERAL LIABILITY
            A STOCK COMPANY                              COVERAGE PART
                 (herein called the Company)                                                  DECLARATIONS



 POLICY NUMBER                     CA000017478-07


 LIMITS OF INSURANCE
 Each Occurrence Limit                                    $               1,000,000
 General Aggregate Limit                                  $               2,000,000
 (Other Than Products- Completed Operations)
 Products - Completed Operations Aggregate Limit          $             2,000,000
 Personal and Advertising Injury Limit                    $             1,000,000
 Damage To Premises Rented To You Limit                   $             1,000,000             Any One Premises
 Medical Expense Limit                                    $           EXCLUDED                Any One Person

 PREMIUM
             Classification                    Code    Premium Basis          Rate             Per               Advance Premium

 CLUBS-CIVIC SERVICE OR
 SOCIAL-NO BUILDINGS OR
 PREMISES OWNED OR LEASED
 EXCEPT FOR OFFICE                                                                                                   REDACTED
 PURPOSES(FOR PROFIT)                          41669                          FLAT          CHARGE


                                                                                       Total Advance Premium
                                                                                      Minimum Term Premium




THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.




                                                          a a W. R. Berkley Company
DE20021218                                                0                                                              Page 1 of 1



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                              SCHEDULE OF FORMS
Named Insured:     THE FRATERNITY OF PHI GAMMA DELTA INC          Policy No.: CA000017478-07



FORM NUMBER                       TITLE



JA10010313                        COVER JACKET - ADMIRAL INSURANCE COMPANY


DE20010700                        COMMON POLICY DECLARATIONS


DE20021218                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS


AI00180398                        SCHEDULE OF FORMS


CG00010413                        COMMERCIAL GENERAL LIABILITY COVERAGE FORM


CG21060514                        EXCLUSION-ACCESS OR DISCLOSURE OF CONFIDENTIAL OR
                                  PERSONAL INFORMATION AND DATA-RELATED LIABILITY - WITH
                                  LIMITED BODILY INJURY EXCEPTION


CG21351001                        EXCLUSION - COVERAGE C - MEDICAL PAYMENTS


CG21651204                        TOTAL POLLUTION EXCLUSION WITH A BUILDING HEATING
                                  EQUIPMENT EXCEPTION


CG21750115                        EXCLUSION OF CERTIFIED ACTS OF TERRORISM AND EXCLUSION OF
                                  OTHER ACTS OF TERRORISM COMMITTED OUTSIDE THE UNITED
                                  STATES


CG24040509                        WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS
                                  TO US


CG24500615                        LIMITED COVERAGE FOR DESIGNATED UNMANNED AIRCRAFT


IL00171198                        COMMON POLICY CONDITIONS


IL00210702                        NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT


IL02720907                        INDIANA CHANGES CANCELLATION AND NON RENEWAL


AD06540103                        OTHER INSURANCE

  AI 00 18 03 98                                                                     Page 1 of 3   □




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AD06620204                  EMPLOYEE BENEFITS LIABILITY COVERAGE CLAIMS MADE
                            COVERAGE


AD08680217                  DESIGNATED LOCATION(S) GENERAL AGGREGATE LIMIT


AD66030195                  INDEPENDENT CONTRACTORS PRIMARY INSURANCE SCHEDULE


AD66090295                  MINIMUM PREMIUM AND MINIMUM RETAINED PREMIUM
                            AMENDATORY ENDORSEMENT


AD66210495                  STOP GAP EMPLOYERS LIABILITY ENDORSEMENT


AD68830413                  LONG TERM EXPOSURE EXCLUSIONS JOINT FORM


AD68881213                  SPECIAL EXCLUSIONS JOINT FORM OCCURRENCE VERSION


AD66761196                  HIRED AUTO AND NON-OWNED LIABILITY


AD67480511                  INTELLECTUAL PROPERTY EXCLUSION (AMENDED DEFINITION OF
                            PERSONAL AND ADVERTISING INJURY)


AI08751014                  SELF-INSURED RETENTION ENDORSEMENT


AI08760203                  ADDITIONAL INSURED - DESIGNATED PERSON OR ORGANIZATION


AI08760203                  ASSAULT AND/OR BATTERY EXCLUSION


AI08760203                  DESIGNATED LOCATIONS GENERAL AGGREGATE LIMIT -
                            AMENDATORY


AI08760203                  FRATERNAL ORGANIZATION HAZING EXCLUSION


AI08760203                  FRATERNAL ORGANIZATION SEXUAL ASSAULT, ABUSE AND
                            MOLESTATION EXCLUSION


AI08760203                  FRATERNITY ALCOHOL EXCLUSION


AI08760203                  HIRED AUTO AND NON-OWNED AUTO LIABILITY INDIVIDUAL
                            EXCLUDED


AI08760203                  SPECIFIED OPERATIONS EXCLUSION - WATER FEATURES OPERATIONS




  AI00 18 03 98                                                              Page 2 of 3   □




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AI08760203                  WHO IS AN INSURED AMENDATORY ENDORSEMENT - RISK
                            MANAGEMENT POLICIES


AI44020818                  SERVICE OF SUIT




  AI00 18 03 98                                                               Page 3 of 3   □




                                     A-8
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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                              CG 00 01 04 13



  COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage. Read the           (2) The "bodily injury" or "property damage"
 entire policy carefully to determine rights, duties and what                occurs during the policy period; and
 is and is not covered.                                                   (3) Prior to the policy period, no insured listed
 Throughout this policy the words "you" and "your" refer to                   under Paragraph 1. of Section II - Who Is An
 the Named Insured shown in the Declarations, and any                         Insured and no "employee" authorized by you to
 other person or organization qualifying as a Named Insured                   give or receive notice of an "occurrence" or
 under this policy. The words "we", "us" and "our" refer to                   claim, knew that the "bodily injury" or "property
 the company providing this insurance.                                        damage" had occurred, in whole or in part. If
 The word "insured" means any person or organization                          such a listed insured or authorized "employee"
 qualifying as such under Section II - Who Is An Insured.                     knew, prior to the policy period, that the "bodily
                                                                              injury" or "property damage" occurred, then any
 Other words and phrases that appear in quotation marks                       continuation, change or resumption of such
 have special meaning. Refer to Section V -Definitions.                       "bodily injury" or "property damage" during or
 SECTION I - COVERAGES                                                        after the policy period will be deemed to have
 COVERAGE A - BODILY INJURY AND PROPERTY                                      been known prior to the policy period.
 DAMAGE LIABILITY                                                      c. "Bodily injury" or "property damage" which occurs
 1. Insuring Agreement                                                    dining the policy period and was not, prior to the
                                                                          policy period, known to have occurred by any
     a. We will pay those sums that the insured becomes                   insured listed under Paragraph 1. of Section II -
        legally obligated to pay as damages because of                    Who Is An Insured or any "employee" authorized
        "bodily injury" or "property damage" to which this                by you to give or receive notice of an "occurrence"
        insurance applies. We will have the right and duty                or claim, includes any continuation, change or
        to defend the insured against any "suit" seeking                  resumption of that "bodily injury" or "property
        those damages. However, we will have no duty to                   damage" after the end of the policy period.
        defend the insured against any "suit" seeking
        damages for "bodily injury" or "property damage"               d. "Bodily injury" or "property damage" will be
        to which this insurance does not apply. We may, at                deemed to have been known to have occurred at the
        our discretion, investigate any "occurrence" and                  earliest time when any insured listed under
        settle any claim or "suit" that may result. But:                  Paragraph 1. of Section II - Who Is An Insured or
                                                                          any "employee" authorized by you to give or
        (1) The amount we will pay for damages is limited                 receive notice of an "occurrence" or claim:
            as described in Section III - Limits Of
            Insurance; and                                                (1) Reports all, or any part, of the "bodily injury" or
                                                                              "property damage" to us or any other insurer;
        (2) Our right and duty to defend ends when we have
            used up the applicable limit of insurance in the              (2) Receives a written or verbal demand or claim
            payment ofjudgments or settlements under                          for damages because of the "bodily injury" or
            Coverages A or B or medical expenses under                        "property damage"; or
            Coverage C.                                                   (3) Becomes aware by any other means that "bodily
        No other obligation or liability to pay sums or                       injury" or "property damage" has occurred or
        perform acts or services is covered unless explicitly                 has begun to occur.
        provided for under Supplementary Payments -                    e. Damages because of "bodily injury" include
        Coverages A and B.                                                damages claimed by any person or organization for
     b. This insurance applies to "bodily injury" and                     care, loss of services or death resulting at any time
        "property damage" only if:                                        from the "bodily injury".

        (1) The "bodily injury" or "property damage" is
            caused by an "occurrence" that takes place in
            the "coverage territory";




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 2. Exclusions                                                           This exclusion applies even if the claims against
    This insurance does not apply to:                                    any insured allege negligence or other wrongdoing
                                                                         in:
    a. Expected Or Intended Injury
                                                                            (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected or                         training or monitoring of others by that
       intended from the standpoint of the insured. This                        insured; or
       exclusion does not apply to "bodily injury" resulting
       from the use of reasonable force to protect persons                  (b) Providing or failing to provide
       or property.                                                             transportation with respect to any person
                                                                                that may be under the influence of alcohol;
    b. Contractual Liability
                                                                         if the "occurrence" which caused the "bodily injury"
       "Bodily injury" or "property damage" for which the                or "property damage", involved that which is
       insured is obligated to pay damages by reason of the              described in Paragraph (1), (2) or (3) above.
       assumption of liability in a contract or agreement.
       This exclusion does not apply to liability for                    However, this exclusion applies only if you are in
       damages:                                                          the business of manufacturing, distributing, selling,
                                                                         serving or furnishing alcoholic beverages. For the
       (1) That the insured would have in the absence of                 purposes of this exclusion, permitting a person to
           the contract or agreement; or                                 bring alcoholic beverages on your premises, for
       (2) Assumed in a contract or agreement that is an                 consumption on your premises, whether or not a fee
           "insured contract", provided the "bodily injury"              is charged or a license is required for such activity,
           or "property damage" occurs subsequent to the                 is not by itself considered the business of selling,
           execution of the contract or agreement. Solely                serving or furnishing alcoholic beverages.
           for the purposes of liability assumed in an                d. Workers' Compensation And Similar Laws
           "insured contract", reasonable attorneys' fees
           and necessary litigation expenses incurred by or              Any obligation of the insured under a workers'
           for a party other than an insured are deemed to               compensation, disability benefits or unemployment
           be damages because of "bodily injury" or                      compensation law or any similar law.
           "property damage", provided:                               e. Employer's Liability
          (a) Liability to such party for, or for the cost of,           "Bodily injury" to:
              that party's defense has also been assumed in              (1) An "employee" of the insured arising out of and
              the same "insured contract"; and                               in the course of:
          (b) Such attorneys' fees and litigation expenses                  (a) Employment by the insured; or
              are for defense of that party against a civil or
              alternative dispute resolution proceeding in                  (b) Performing duties related to the conduct of
              which damages to which this insurance                             the insured's business; or
              applies are alleged.                                       (2) The spouse, child, parent, brother or sister of
    c. Liquor Liability                                                      that "employee" as a consequence of Paragraph
                                                                             (1) above.
       "Bodily injury" or "property damage" for which any
       insured may be held liable by reason of:                          This exclusion applies whether the insured may be
                                                                         liable as an employer or in any other capacity and to
       (1) Causing or contributing to the intoxication of                any obligation to share damages with or repay
           any person;                                                   someone else who must pay damages because of the
       (2) The furnishing of alcoholic beverages to a                    injury.
           person under the legal drinking age or under the              This exclusion does not apply to liability assumed
           influence of alcohol; or                                      by the insured under an "insured contract".
       (3) Any statute, ordinance or regulation relating to
           the sale, gift, distribution or use of alcoholic
           beverages.




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   f. Pollution                                                           (d) At or from any premises, site or location on
     (1) "Bodily injury" or "property damage" arising                         which any insured or any contractors or
         out of the actual, alleged or threatened                             subcontractors working directly or indirectly
         discharge, dispersal, seepage, migration, release                    on any insured's behalf are performing
         or escape of "pollutants":                                           operations if the "pollutants" are brought on
                                                                              or to the premises, site or location in
         (a) At or from any premises, site or location                        connection with such operations by such
             which is or was at any time owned or                             insured, contractor or subcontractor.
             occupied by, or rented or loaned to, any                         However, this subparagraph does not apply
             insured. However, this subparagraph does                         to:
             not apply to:
                                                                              (i) "Bodily injury" or "property damage"
             (i) "Bodily injury" if sustained within a                            arising out of the escape of fuels,
                 building and caused by smoke, fumes,                             lubricants or other operating fluids
                 vapor or soot produced by or originating                         which are needed to perform the normal
                 from equipment that is used to heat, cool                        electrical, hydraulic or mechanical
                 or dehumidify the building, or                                   functions necessary for the operation of
                 equipment that is used to heat water for                         "mobile equipment" or its parts, if such
                 personal use, by the building's occupants                        fuels, lubricants or other operating fluids
                 or their guests;                                                 escape from a vehicle part designed to
            (ii) "Bodily injury" or "property damage" for                         hold, store or receive them. This
                 which you may be held liable, if you are                         exception does not apply if the "bodily
                 a contractor and the owner or lessee of                          injury" or "property damage" arises out
                 such premises, site or location has been                         of the intentional discharge, dispersal or
                 added to your policy as an additional                            release of the fuels, lubricants or other
                 insured with respect to your ongoing                             operating fluids, or if such fuels,
                 operations performed for that additional                         lubricants or other operating fluids are
                 insured at that premises, site or location                       brought on or to the premises, site or
                 and such premises, site or location is not                       location with the intent that they be
                 and never was owned or occupied by, or                           discharged, dispersed or released as part
                 rented or loaned to, any insured, other                          of the operations being performed by
                 than that additional insured; or                                 such insured, contractor or
            (iii) "Bodily injury" or "property damage"                            subcontractor;
                  arising out of heat, smoke or fumes from                    (ii) "Bodily injury" or "property damage"
                  a "hostile fire";                                                sustained within a building and caused
         (b) At or from any premises, site or location                             by the release of gases, fumes or vapors
             which is or was at any time used by or for                            from materials brought into that building
             any insured or others for the handling,                               in connection with operations being
             storage, disposal, processing or treatment of                         performed by you or on your behalf by a
             waste;                                                                contractor or subcontractor; or

         (c) Which are or were at any time transported,                      (iii) "Bodily injury" or "property damage"
             handled, stored, treated, disposed of, or                             arising out of heat, smoke or fumes from
             processed as waste by or for:                                         a "hostile fire".
             (i) Any insured; or                                          (e) At or from any premises, site or location on
                                                                              which any insured or any contractors or
            (ii) Any person or organization for whom                          subcontractors working directly or indirectly
                 you may be legally responsible; or                           on any insured's behalf are performing
                                                                              operations if the operations are to test for,
                                                                              monitor, clean up, remove, contain, treat,
                                                                              detoxify or neutralize, or in any way respond
                                                                              to, or assess the effects of, "pollutants".




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      (2) Any loss, cost or expense arising out of any:                    (5) "Bodily injury" or "property damage" arising
          (a) Request, demand, order or statutory or                           out of:
              regulatory requirement that any insured or                      (a) The operation of machinery or equipment
              others test for, monitor, clean up, remove,                         that is attached to, or part of, a land vehicle
              contain, treat, detoxify or neutralize, or in                       that would qualify under the definition of
              any way respond to, or assess the effects of,                       "mobile equipment" if it were not subject to
              "pollutants"; or                                                    a compulsory or financial responsibility law
          (b) Claim or suit by or on behalf of a                                  or other motor vehicle insurance law where
              governmental authority for damages because                          it is licensed or principally garaged; or
              of testing for, monitoring, cleaning up,                        (b) The operation of any of the machinery or
              removing, containing, treating, detoxifying                         equipment listed in Paragraph f.(2) or f.(3)
              or neutralizing, or in any way responding to,                       of the definition of "mobile equipment".
              or assessing the effects of, "pollutants".                h. Mobile Equipment
          However, this paragraph does not apply to                        "Bodily injury" or "property damage" arising out of:
          liability for damages because of "property
          damage" that the insured would have in the                       (1) The transportation of "mobile equipment" by an
          absence of such request, demand, order or                            "auto" owned or operated by or rented or loaned
          statutory or regulatory requirement, or such                         to any insured; or
          claim or "suit" by or on behalf of a                             (2) The use of "mobile equipment" in, or while in
          governmental authority.                                              practice for, or while being prepared for, any
    g. Aircraft, Auto Or Watercraft                                            prearranged racing, speed, demolition, or
                                                                               stunting activity.
       "Bodily injury" or "property damage" arising out of
       the ownership, maintenance, use or entrustment to                i. War
       others of any aircraft, "auto" or watercraft owned or               "Bodily injury" or "property damage", however
       operated by or rented or loaned to any insured. Use                 caused, arising, directly or indirectly, out of:
       includes operation and "loading or unloading".                      (1) War, including undeclared or civil war;
       This exclusion applies even if the claims against                   (2) Warlike action by a military force, including
       any insured allege negligence or other wrongdoing                       action in hindering or defending against an
       in the supervision, hiring, employment, training or                     actual or expected attack, by any government,
       monitoring of others by that insured, if the                            sovereign or other authority using military
       "occurrence" which caused the "bodily injury" or                        personnel or other agents; or
       "property damage" involved the ownership,
       maintenance, use or entrustment to others of any                    (3) Insurrection, rebellion, revolution, usurped
       aircraft, "auto" or watercraft that is owned or                         power, or action taken by governmental
       operated by or rented or loaned to any insured.                         authority in hindering or defending against any
                                                                               of these.
       This exclusion does not apply to:
                                                                        j. Damage To Property
      (1) A watercraft while ashore on premises you own
          or rent;                                                         "Property damage" to:
      (2) A watercraft you do not own that is:                             (1) Property you own, rent, or occupy, including
                                                                               any costs or expenses incurred by you, or any
          (a)   Less than 26 feet long; and                                    other person, organization or entity, for repair,
          (b) Not being used to carry persons or property                      replacement, enhancement, restoration or
              for a charge;                                                    maintenance of such property for any reason,
      (3) Parking an "auto" on, or on the ways next to,                        including prevention of injury to a person or
          premises you own or rent, provided the "auto" is                     damage to another's property;
          not owned by or rented or loaned to you or the                   (2) Premises you sell, give away or abandon, if the
          insured;                                                             "property damage" arises out of any part of
      (4) Liability assumed under any "insured contract"                       those premises;
          for the ownership, maintenance or use of aircraft                (3) Property loaned to you;
          or watercraft; or




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      (4) Personal property in the care, custody or control              This exclusion does not apply to the loss of use of
          of the insured;                                                other property arising out of sudden and accidental
      (5) That particular part of real property on which                 physical injury to "your product" or "your work"
          you or any contractors or subcontractors                       after it has been put to its intended use.
          working directly or indirectly on your behalf are           n. Recall Of Products, Work Or Impaired Property
          performing operations, if the "property damage"                Damages claimed for any loss, cost or expense
          arises out of those operations; or                             incurred by you or others for the loss of use,
      (6) That particular part of any property that must be              withdrawal, recall, inspection, repair, replacement,
          restored, repaired or replaced because "your                   adjustment, removal or disposal of:
          work" was incorrectly performed on it.                         (1) "Your product";
       Paragraphs (1), (3) and (4) of this exclusion do not              (2) "Your work"; or
       apply to "property damage" (other than damage by
       fire) to premises, including the contents of such                 (3) "Impaired property";
       premises, rented to you for a period of seven or                  if such product, work, or property is withdrawn or
       fewer consecutive days. A separate limit of                       recalled from the market or from use by any person
       insurance applies to Damage To Premises Rented                    or organization because of a known or suspected
       To You as described in Section HI - Limits Of                     defect, deficiency, inadequacy or dangerous
       Insurance.                                                        condition in it.
       Paragraph (2) of this exclusion does not apply if the          o. Personal And Advertising Injury
       premises are "your work" and were never occupied,                 "Bodily injury" arising out of "personal and
       rented or held for rental by you.                                 advertising injury".
       Paragraphs (3), (4), (5) and (6) of this exclusion do          p. Electronic Data
       not apply to liability assumed under a sidetrack
       agreement.                                                        Damages arising out of the loss of, loss of use of,
                                                                         damage to, corruption of, inability to access, or
       Paragraph (6) of this exclusion does not apply to                 inability to manipulate electronic data.
       "property damage" included in the "products-
       completed operations hazard".                                     However, this exclusion does not apply to liability
                                                                         for damages because of "bodily injury".
    k. Damage To Your Product
                                                                         As used in this exclusion, electronic data means
       "Property damage" to "your product" arising out of                information, facts or programs stored as or on,
       it or any part of it.                                             created or used on, or transmitted to or from
     l. Damage To Your Work                                              computer software, including systems and
       "Property damage" to "your work" arising out of it                applications software, hard or floppy disks, CD-
       or any part of it and included in the "products-                  ROMs, tapes, drives, cells, data processing devices
       completed operations hazard".                                     or any other media which are used with
                                                                         electronically controlled equipment.
       This exclusion does not apply if the damaged work
       or the work out of which the damage arises was                 q. Recording And Distribution Of Material Or
       performed on your behalf by a subcontractor.                      Information In Violation Of Law
   m. Damage To Impaired Property Or Property Not                        "Bodily injury" or "property damage" arising
      Physically Injured                                                 directly or indirectly out of any action or omission
                                                                         that violates or is alleged to violate:
       "Property damage" to "impaired property" or
       property that has not been physically injured,                    (1) The Telephone Consumer Protection Act
       arising out of:                                                       (TCPA), including any amendment of or
                                                                             addition to such law;
      (1) A defect, deficiency, inadequacy or dangerous
          condition in "your product" or "your work"; or                 (2) The CAN-SPAM Act of 2003, including any
                                                                             amendment of or addition to such law;
      (2) A delay or failure by you or anyone acting on
          your behalf to perform a contract or agreement                 (3) The Fair Credit Reporting Act (FCRA), and any
          in accordance with its terms.                                      amendment of or addition to such law, including
                                                                             the Fair and Accurate Credit Transactions Act
                                                                             (FACTA); or




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       (4) Any federal, state or local statute, ordinance or       2. Exclusions
           regulation, other than the TCPA, CAN-SPAM                   This insurance does not apply to:
           Act of2003 or FCRA and their amendments
           and additions, that addresses, prohibits, or limits         a. Knowing Violation Of Rights Of Another
           the printing, dissemination, disposal, collecting,             "Personal and advertising injury" caused by or at
           recording, sending, transmitting,                              the direction of the insured with the knowledge that
           communicating or distribution of material or                   the act would violate the rights of another and
           information.                                                   would inflict "personal and advertising injury".
    Exclusions c. through n. do not apply to damage by fire            b. Material Published With Knowledge Of Falsity
    to premises while rented to you or temporarily occupied               "Personal and advertising injury" arising out of oral
    by you with permission of the owner. A separate limit                 or written publication, in any manner, of material, if
    of insurance applies to this coverage as described in                 done by or at the direction of the insured with
    Section HI - Limits Of Insurance.                                     knowledge of its falsity.
 COVERAGE B - PERSONAL AND ADVERTISING                                 c. Material Published Prior To Policy Period
 INJURY LIABILITY
                                                                          "Personal and advertising injury" arising out of oral
  1. Insuring Agreement                                                   or written publication, in any manner, of material
     a. We will pay those sums that the insured becomes                   whose first publication took place before the
        legally obligated to pay as damages because of                    beginning of the policy period.
        "personal and advertising injury" to which this                d. Criminal Acts
        insurance applies. We will have the right and duty
        to defend the insured against any "suit" seeking                  "Personal and advertising injury" arising out of a
        those damages. However, we will have no duty to                   criminal act committed by or at the direction of the
        defend the insured against any "suit" seeking                     insured.
        damages for "personal and advertising injury" to               e. Contractual Liability
        which this insurance does not apply. We may, at our               "Personal and advertising injury" for which the
        discretion, investigate any offense and settle any                insured has assumed liability in a contract or
        claim or "suit" that may result. But:                             agreement. This exclusion does not apply to liability
       (1) The amount we will pay for damages is limited                  for damages that the insured would have in the
           as described in Section III - Limits Of                        absence of the contract or agreement.
           Insurance; and
                                                                       f. Breach Of Contract
       (2) Our right and duty to defend end when we have                  "Personal and advertising injury" arising out of a
           used up the applicable limit of insurance in the               breach of contract, except an implied contract to use
           payment ofjudgments or settlements under
                                                                          another's advertising idea in your "advertisement".
           Coverages A or B or medical expenses under
           Coverage C.                                                 g. Quality Or Performance Of Goods - Failure To
                                                                          Conform To Statements
        No other obligation or liability to pay sums or
        perform acts or services is covered unless explicitly             "Personal and advertising injury" arising out of the
        provided for under Supplementary Payments -                       failure of goods, products or services to conform
        Coverages A and B.                                                with any statement of quality or performance made
                                                                          in your "advertisement".
     b. This insurance applies to "personal and advertising
        injury" caused by an offense arising out of your               h. Wrong Description Of Prices
        business but only if the offense was committed in                 "Personal and advertising injury" arising out of the
        the "coverage territory" during the policy period.                wrong description of the price of goods, products or
                                                                          services stated in your "advertisement".




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     i. Infringement Of Copyright, Patent, Trademark                  n. Pollution-related
        Or Trade Secret                                                  Any loss, cost or expense arising out of any:
       "Personal and advertising injury" arising out of the              (1) Request, demand, order or statutory or
       infringement of copyright, patent, trademark, trade                   regulatory requirement that any insured or
       secret or other intellectual property rights. Under                   others test for, monitor, clean up, remove,
       this exclusion, such other intellectual property                      contain, treat, detoxify or neutralize, or in any
       rights do not include the use of another's advertising                way respond to, or assess the effects of,
       idea in your "advertisement".                                         "pollutants"; or
       However, this exclusion does not apply to                         (2) Claim or suit by or on behalf of a governmental
       infringement, in your "advertisement", of copyright,                  authority for damages because of testing for,
       trade dress or slogan.                                                monitoring, cleaning up, removing, containing,
    j. Insureds In Media And Internet Type Businesses                        treating, detoxifying or neutralizing, or in any
       "Personal and advertising injury" committed by an                     way responding to, or assessing the effects of,
       insured whose business is:                                            "pollutants".
      (1) Advertising, broadcasting, publishing or                    o. War
          telecasting;                                                   "Personal and advertising injury", however caused,
      (2) Designing or determining content of web sites                  arising, directly or indirectly, out of:
          for others; or                                                 (1) War, including undeclared or civil war;
      (3) An Internet search, access, content or service                 (2) Warlike action by a military force, including
          provider.                                                          action in hindering or defending against an
       However, this exclusion does not apply to                             actual or expected attack, by any government,
       Paragraphs 14.a., b. and c. of "personal and                          sovereign or other authority using military
       advertising injury" under the Definitions section.                    personnel or other agents; or
       For the purposes of this exclusion, the placing of                (3) Insurrection, rebellion, revolution, usurped
       frames, borders or links, or advertising, for you or                  power, or action taken by governmental
       others anywhere on the Internet, is not by itself,                    authority in hindering or defending against any
       considered the business of advertising,                               of these.
       broadcasting, publishing or telecasting.                       p. Recording And Distribution Of Material Or
    k. Electronic Chatrooms Or Bulletin Boards                           Information In Violation Of Law
       "Personal and advertising injury" arising out of an               "Personal and advertising injury" arising directly or
       electronic chatroom or bulletin board the insured                 indirectly out of any action or omission that violates
       hosts, owns, or over which the insured exercises                  or is alleged to violate:
       control.                                                          (1) The Telephone Consumer Protection Act
     l. Unauthorized Use Of Another's Name Or                                (TCPA), including any amendment of or
        Product                                                              addition to such law;
       "Personal and advertising injury" arising out of the              (2) The CAN-SPAM Act of 2003, including any
       unauthorized use of another's name or product in                      amendment of or addition to such law;
       your e-mail address, domain name or metatag, or                   (3) The Fair Credit Reporting Act (FCRA), and any
       any other similar tactics to mislead another's                        amendment of or addition to such law, including
       potential customers.                                                  the Fair and Accurate Credit Transactions Act
   m. Pollution                                                              (FACTA); or
       "Personal and advertising injury" arising out of the              (4) Any federal, state or local statute, ordinance or
       actual, alleged or threatened discharge, dispersal,                   regulation, other than the TCPA, CAN-SPAM
       seepage, migration, release or escape of "pollutants"                 Act of2003 or FCRA and their amendments and
       at any time.                                                          additions, that addresses, prohibits, or limits the
                                                                             printing, dissemination, disposal, collecting,
                                                                             recording, sending, transmitting, communicating
                                                                             or distribution of material or information.




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 COVERAGE C - MEDICAL PAYMENTS                                         g. Coverage A Exclusions
  1. Insuring Agreement                                                    Excluded under Coverage A.
     a. We will pay medical expenses as described below             SUPPLEMENTARY PAYMENTS - COVERAGES A
        for "bodily injury" caused by an accident:                  AND B
       (1) On premises you own or rent;                             1. We will pay, with respect to any claim we investigate
       (2) On ways next to premises you own or rent; or                or settle, or any "suit" against an insured we defend:
       (3) Because of your operations;                                 a. All expenses we incur.
        provided that:                                                 b. Up to $250 for cost of bail bonds required because
                                                                          of accidents or traffic law violations arising out of
           (a) The accident takes place in the "coverage                  the use of any vehicle to which the Bodily Injury
               territory" and during the policy period;                   Liability Coverage applies. We do not have to
           (b) The expenses are incurred and reported to us               furnish these bonds.
               within one year of the date of the accident;             c. The cost of bonds to release attachments, but only
               and                                                         for bond amounts within the applicable limit of
           (c) The injured person submits to examination,                  insurance. We do not have to furnish these bonds.
               at our expense, by physicians of our choice             d. All reasonable expenses incurred by the insured at
               as often as we reasonably require.                         our request to assist us in the investigation or
     b. We will make these payments regardless of fault.                  defense of the claim or "suit", including actual loss
        These payments will not exceed the applicable limit               of earnings up to $250 a day because of time off
        of insurance. We will pay reasonable expenses for:                from work.
       (1) First aid administered at the time of an accident;           e. All court costs taxed against the insured in the
       (2) Necessary medical, surgical, X-ray and dental                   "suit". However, these payments do not include
           services, including prosthetic devices; and                     attorneys' fees or attorneys' expenses taxed against
                                                                           the insured.
       (3) Necessary ambulance, hospital, professional
           musing and funeral services.                                 f. Prejudgment interest awarded against the insured on
                                                                           that part of the judgment we pay. If we make an
 2. Exclusions                                                             offer to pay the applicable limit of insurance, we
    We will not pay expenses for "bodily injury":                          will not pay any prejudgment interest based on that
                                                                           period of time after the offer.
     a. Any Insured
        To any insured, except "volunteer workers".                    g. All interest on the full amount of any judgment that
                                                                          accrues after entry of the judgment and before we
     b. Hired Person                                                      have paid, offered to pay, or deposited in court the
        To a person hired to do work for or on behalf of any              part of the judgment that is within the applicable
        insured or a tenant of any insured.                               limit of insurance.
     c. Injury On Normally Occupied Premises                           These payments will not reduce the limits of insurance.
        To a person injured on that part of premises you            2. If we defend an insured against a "suit" and an
        own or rent that the person normally occupies.                 indemnitee of the insured is also named as a party to the
                                                                       "suit", we will defend that indemnitee if all of the
     d. Workers' Compensation And Similar Laws
                                                                       following conditions are met:
        To a person, whether or not an "employee" of any
                                                                       a. The "suit" against the indemnitee seeks damages for
        insured, if benefits for the "bodily injury" are
                                                                          which the insured has assumed the liability of the
        payable or must be provided under a workers'
                                                                          indemnitee in a contract or agreement that is an
        compensation or disability benefits law or a similar
                                                                          "insured contract";
        law.
                                                                       b. This insurance applies to such liability assumed by
     e. Athletics Activities
                                                                          the insured;
        To a person injured while practicing, instructing or
                                                                        c. The obligation to defend, or the cost of the defense
        participating in any physical exercises or games,
                                                                           of, that indemnitee, has also been assumed by the
        sports, or athletic contests.
                                                                           insured in the same "insured contract";
     f. Products-Completed Operations Hazard
        Included within the "products-completed operations
        hazard".




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     d. The allegations in the "suit" and the information we           b. A partnership or joint venture, you are an insured.
        know about the "occurrence" are such that no                      Your members, your partners, and their spouses are
        conflict appears to exist between the interests of the            also insureds, but only with respect to the conduct
        insured and the interests of the indemnitee;                      of your business.
     e. The indemnitee and the insured ask us to conduct               c. A limited liability company, you are an insured.
        and control the defense of that indemnitee against                Your members are also insureds, but only with
        such "suit" and agree that we can assign the same                 respect to the conduct of your business. Your
        counsel to defend the insured and the indemnitee;                 managers are insureds, but only with respect to their
        and                                                               duties as your managers.
      f. The indemnitee:                                               d. An organization other than a partnership, joint
        (1) Agrees in writing to:                                         venture or limited liability company, you are an
                                                                          insured. Your "executive officers" and directors are
            (a) Cooperate with us in the investigation,                   insureds, but only with respect to their duties as
                settlement or defense of the "suit";                      your officers or directors. Your stockholders are
            (b) Immediately send us copies of any demands,                also insureds, but only with respect to their liability
                notices, summonses or legal papers received               as stockholders.
                in connection with the "suit";                         e. A trust, you are an insured. Your trustees are also
            (c) Notify any other insurer whose coverage is                insureds, but only with respect to their duties as
                available to the indemnitee; and                          trustees.
            (d) Cooperate with us with respect to                  2. Each of the following is also an insured:
                coordinating other applicable insurance                a. Your "volunteer workers" only while performing
                available to the indemnitee; and                          duties related to the conduct of your business, or
        (2) Provides us with written authorization to:                    your "employees", other than either your "executive
            (a) Obtain records and other information related              officers" (if you are an organization other than a
                to the "suit"; and                                        partnership, joint venture or limited liability
                                                                          company) or your managers (if you are a limited
            (b) Conduct and control the defense of the                    liability company), but only for acts within the
                indemnitee in such "suit".                                scope of their employment by you or while
     So long as the above conditions are met, attorneys' fees             performing duties related to the conduct of your
     incurred by us in the defense of that indemnitee,                    business. However, none of these "employees" or
     necessary litigation expenses incurred by us and                     "volunteer workers" are insureds for:
     necessary litigation expenses incurred by the                        (1) "Bodily injury" or "personal and advertising
     indemnitee at our request will be paid as Supplementary                  injury":
     Payments. Notwithstanding the provisions of Paragraph
     2.b.(2) of Section I - Coverage A - Bodily Injury And                   (a) To you, to your partners or members (if you
     Property Damage Liability, such payments will not be                        are a partnership or joint venture), to your
     deemed to be damages for "bodily injury" and "property                      members (if you are a limited liability
     damage" and will not reduce the limits of insurance.                        company), to a co-"employee" while in the
                                                                                 course of his or her employment or
     Our obligation to defend an insured's indemnitee and to                     performing duties related to the conduct of
     pay for attorneys' fees and necessary litigation expenses                   your business, or to your other "volunteer
     as Supplementary Payments ends when we have used                            workers" while performing duties related to
     up the applicable limit of insurance in the payment of                      the conduct of your business;
     judgments or settlements or the conditions set forth
     above, or the terms of the agreement described in                       (b) To the spouse, child, parent, brother or sister
     Paragraph f. above, are no longer met.                                      of that co-"employee" or "volunteer worker"
                                                                                 as a consequence of Paragraph (l)(a) above;
 SECTION II - WHO IS AN INSURED
                                                                              (c) For which there is any obligation to share
  1. If you are designated in the Declarations as:                                damages with or repay someone else who
     a. An individual, you and your spouse are insureds,                          must pay damages because of the injury
        but only with respect to the conduct of a business of                     described in Paragraph (l)(a) or (b) above;
        which you are the sole owner.                                             or




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           (d) Arising out of his or her providing or failing           a. Insureds;
               to provide professional health care services.            b. Claims made or "suits" brought; or
        (2) "Property damage" to property:                              c. Persons or organizations making claims or bringing
           (a) Owned, occupied or used by;                                 "suits".
           (b) Rented to, in the care, custody or control of,       2. The General Aggregate Limit is the most we will pay
               or over which physical control is being                 for the sum of:
               exercised for any purpose by;                            a. Medical expenses under Coverage C;
            you, any of your "employees", "volunteer                    b. Damages under Coverage A, except damages
            workers", any partner or member (if you are a                  because of "bodily injury" or "property damage"
            partnership or joint venture), or any member (if               included in the "products-completed operations
            you are a limited liability company).                          hazard"; and
     b. Any person (other than your "employee" or                       c. Damages under Coverage B.
        "volunteer worker"), or any organization while
        acting as your real estate manager.                         3. The Products-Completed Operations Aggregate Limit is
                                                                       the most we will pay under Coverage A for damages
     c. Any person or organization having proper                       because of "bodily injury" and "property damage"
        temporary custody of your property if you die, but             included in the "products-completed operations
        only:                                                          hazard".
        (1) With respect to liability arising out of the            4. Subject to Paragraph 2. above, the Personal And
            maintenance or use of that property; and                   Advertising Injury Limit is the most we will pay under
        (2) Until your legal representative has been                   Coverage B for the sum of all damages because of all
            appointed.                                                 "personal and advertising injury" sustained by any one
     d. Your legal representative if you die, but only with            person or organization.
        respect to duties as such. That representative will         5. Subject to Paragraph 2. or 3. above, whichever applies,
        have all your rights and duties under this Coverage            the Each Occurrence Limit is the most we will pay for
        Part.                                                          the sum of:
 3. Any organization you newly acquire or form, other than              a. Damages under Coverage A; and
    a partnership, joint venture or limited hability company,           b. Medical expenses under Coverage C
    and over which you maintain ownership or majority
    interest, will qualify as a Named Insured if there is no           because of all "bodily injury" and "property damage"
    other similar insurance available to that organization.            arising out of any one "occurrence".
    However:                                                        6. Subject to Paragraph 5. above, the Damage To Premises
     a. Coverage under this provision is afforded only until           Rented To You Limit is the most we will pay under
        the 90th day after you acquire or form the                     Coverage A for damages because of "property damage"
        organization or the end of the policy period,                  to any one premises, while rented to you, or in the case
        whichever is earlier;                                          of damage by fire, while rented to you or temporarily
                                                                       occupied by you with permission of the owner.
     b. Coverage A does not apply to "bodily injury" or
        "property damage" that occurred before you                  7. Subject to Paragraph 5. above, the Medical Expense
        acquired or formed the organization; and                       Limit is the most we will pay under Coverage C for all
                                                                       medical expenses because of "bodily injury" sustained
     c. Coverage B does not apply to "personal and                     by any one person.
        advertising injury" arising out of an offense
        committed before you acquired or formed the                 The Limits of Insurance of this Coverage Part apply
        organization.                                               separately to each consecutive annual period and to any
                                                                    remaining period of less than 12 months, starting with the
 No person or organization is an insured with respect to the        beginning of the policy period shown in the Declarations,
 conduct of any current or past partnership, joint venture or       unless the policy period is extended after issuance for an
 limited liability company that is not shown as a Named             additional period of less than 12 months. In that case, the
 Insured in the Declarations.                                       additional period will be deemed part of the last preceding
 SECTION III - LIMITS OF INSURANCE                                  period for purposes of determining the Limits of Insurance.
  1. The Limits of Insurance shown in the Declarations and
     the rules below fix the most we will pay regardless of
     the number of:




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SECTION IV - COMMERCIAL GENERAL                                       a. To join us as a party or otherwise bring us into a
LIABILITY CONDITIONS                                                     "suit" asking for damages from an insured; or
1. Bankruptcy                                                         b. To sue us on this Coverage Part unless all of its
   Bankruptcy or insolvency of the insured or of the                     terms have been fully complied with.
   insured's estate will not relieve us of our obligations            A person or organization may sue us to recover on an
   under this Coverage Part.                                          agreed settlement or on a final judgment against an
2. Duties In The Event Of Occurrence, Offense, Claim                  insured; but we will not be liable for damages that are
   Or Suit                                                            not payable under the terms of this Coverage Part or
                                                                      that are in excess of the applicable limit of insurance.
   a. You must see to it that we are notified as soon as              An agreed settlement means a settlement and release of
      practicable of an "occurrence" or an offense which              liability signed by us, the insured and the claimant or
      may result in a claim. To the extent possible, notice           the claimant's legal representative.
      should include:
                                                                  4. Other Insurance
      (1) How, when and where the "occurrence" or
          offense took place;                                         If other valid and collectible insurance is available to
                                                                      the insured for a loss we cover under Coverages A or B
      (2) The names and addresses of any injured persons              of this Coverage Part, our obligations are limited as
          and witnesses; and                                          follows:
      (3) The nature and location of any injury or damage             a. Primary Insurance
          arising out of the "occurrence" or offense.
                                                                         This insurance is primary except when Paragraph b.
   b. If a claim is made or "suit" is brought against any                below applies. If this insurance is primary, our
      insured, you must:                                                 obligations are not affected unless any of the other
      (1) Immediately record the specifics of the claim or               insurance is also primary. Then, we will share with
          "suit" and the date received; and                              all that other insurance by the method described in
      (2) Notify us as soon as practicable.                              Paragraph c. below.

      You must see to it that we receive written notice of            b. Excess Insurance
      the claim or "suit" as soon as practicable.                        (1) This insurance is excess over:
   c. You and any other involved insured must:                              (a) Any of the other insurance, whether
      (1) Immediately send us copies of any demands,                            primary, excess, contingent or on any other
          notices, summonses or legal papers received in                        basis:
          connection with the claim or "suit";                                   (i) That is Fire, Extended Coverage,
      (2) Authorize us to obtain records and other                                   Builder's Risk, Installation Risk or
          information;                                                               similar coverage for "your work";

      (3) Cooperate with us in the investigation or                             (ii) That is Fire insurance for premises
          settlement of the claim or defense against the                             rented to you or temporarily occupied by
          "suit"; and                                                                you with permission of the owner;

      (4) Assist us, upon our request, in the enforcement                      (ill) That is insurance purchased by you to
          of any right against any person or organization                            cover your liability as a tenant for
          which may be liable to the insured because of                              "property damage" to premises rented to
          injury or damage to which this insurance may                               you or temporarily occupied by you with
          also apply.                                                                permission of the owner; or

   d. No insured will, except at that insured's own cost,                       (iv) If the loss arises out of the maintenance
      voluntarily make a payment, assume any obligation,                             or use of aircraft, "autos" or watercraft to
      or incur any expense, other than for first aid,                                the extent not subject to Exclusion g. of
      without our consent.                                                           Section I - Coverage A - Bodily Injury
                                                                                     And Property Damage Liability.
3. Legal Action Against Us
                                                                            (b) Any other primary insurance available to
   No person or organization has a right under this                             you covering liability for damages arising
   Coverage Part:                                                               out of the premises or operations, or the
                                                                                products and completed operations, for
                                                                                which you have been added as an additional
                                                                                insured.




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     (2) When this insurance is excess, we will have no            6. Representations
         duty under Coverages A or B to defend the                     By accepting this policy, you agree:
         insured against any "suit" if any other insurer
         has a duty to defend the insured against that                 a. The statements in the Declarations are accurate and
         "suit". If no other insurer defends, we will                     complete;
         undertake to do so, but we will be entitled to the            b. Those statements are based upon representations
         insured's rights against all those other insurers.               you made to us; and
     (3) When this insurance is excess over other                      c. We have issued this policy in reliance upon your
         insurance, we will pay only our share of the                     representations.
         amount of the loss, if any, that exceeds the sum          7. Separation Of Insureds
         of:
                                                                       Except with respect to the Limits of Insurance, and any
         (a) The total amount that all such other                      rights or duties specifically assigned in this Coverage
             insurance would pay for the loss in the                   Part to the first Named Insured, this insurance applies:
             absence of this insurance; and
                                                                       a. As if each Named Insured were the only Named
         (b) The total of all deductible and self-insured                 Insured; and
             amounts under all that other insurance.
                                                                       b. Separately to each insured against whom claim is
     (4) We will share the remaining loss, if any, with                   made or "suit" is brought.
         any other insurance that is not described in this
         Excess Insurance provision and was not bought             8. Transfer Of Rights Of Recovery Against Others To
         specifically to apply in excess of the Limits of             Us
         Insurance shown in the Declarations of this                   If the insured has rights to recover all or part of any
         Coverage Part.                                                payment we have made under this Coverage Part, those
   c. Method Of Sharing                                                rights are transferred to us. The insured must do nothing
                                                                       after loss to impair them. At our request, the insured
      If all of the other insurance permits contribution by            will bring "suit" or transfer those rights to us and help
      equal shares, we will follow this method also.                   us enforce them.
      Under this approach each insurer contributes equal
      amounts until it has paid its applicable limit of            9. When We Do Not Renew
      insurance or none of the loss remains, whichever                 If we decide not to renew this Coverage Part, we will
      comes first.                                                     mail or deliver to the first Named Insured shown in the
      If any of the other insurance does not permit                    Declarations written notice of the nonrenewal not less
      contribution by equal shares, we will contribute by              than 30 days before the expiration date.
      limits. Under this method, each insurer's share is               If notice is mailed, proof of mailing will be sufficient
      based on the ratio of its applicable limit of                    proof of notice.
      insurance to the total applicable limits of insurance
                                                                   SECTION V - DEFINITIONS
      of all insurers.
                                                                   1. "Advertisement" means a notice that is broadcast or
5. Premium Audit                                                      published to the general public or specific market
   a. We will compute all premiums for this Coverage                  segments about your goods, products or services for the
      Part in accordance with our rules and rates.                    purpose of attracting customers or supporters. For the
   b. Premium shown in this Coverage Part as advance                  purposes of this definition:
      premium is a deposit premium only. At the close of               a. Notices that are published include material placed
      each audit period we will compute the earned                        on the Internet or on similar electronic means of
      premium for that period and send notice to the first                communication; and
      Named Insured. The due date for audit and
                                                                       b. Regarding web sites, only that part of a web site
      retrospective premiums is the date shown as the due
                                                                          that is about your goods, products or services for the
      date on the bill. If the sum of the advance and audit
                                                                          purposes of attracting customers or supporters is
      premiums paid for the policy period is greater than
                                                                          considered an advertisement.
      the earned premium, we will return the excess to the
      first Named Insured.                                         2. "Auto" means:
   c. The first Named Insured must keep records of the                 a. A land motor vehicle, trailer or semitrailer designed
      information we need for premium computation, and                    for travel on public roads, including any attached
      send us copies at such times as we may request.                     machinery or equipment; or




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   b. Any other land vehicle that is subject to a                  9. "Insured contract" means:
      compulsory or financial responsibility law or other              a. A contract for a lease of premises. However, that
      motor vehicle insurance law where it is licensed or                 portion of the contract for a lease of premises that
      principally garaged.                                                indemnifies any person or organization for damage
   However, "auto" does not include "mobile equipment".                   by fire to premises while rented to you or
3. "Bodily injury" means bodily injury, sickness or disease               temporarily occupied by you with permission of the
   sustained by a person, including death resulting from                  owner is not an "insured contract";
   any of these at any time.                                           b. A sidetrack agreement;
4. "Coverage territory" means:                                         c. Any easement or license agreement, except in
   a. The United States of America (including its                         connection with construction or demolition
      territories and possessions), Puerto Rico and                       operations on or within 50 feet of a railroad;
      Canada;                                                          d. An obligation, as required by ordinance, to
   b. International waters or airspace, but only if the                   indemnify a municipality, except in connection with
      injury or damage occurs in the course of travel or                  work for a municipality;
      transportation between any places included in                    e. An elevator maintenance agreement;
      Paragraph a. above; or                                           f. That part of any other contract or agreement
    c. All other parts of the world if the injury or damage               pertaining to your business (including an
       arises out of:                                                     indemnification of a municipality in connection
      (1) Goods or products made or sold by you in the                    with work performed for a municipality) under
          territory described in Paragraph a. above;                      which you assume the tort liability of another party
                                                                          to pay for "bodily injury" or "property damage" to a
      (2) The activities of a person whose home is in the                 third person or organization. Tort liability means a
          territory described in Paragraph a. above, but is               liability that would be imposed by law in the
          away for a short time on your business; or                      absence of any contract or agreement.
      (3) "Personal and advertising injury" offenses that                 Paragraph f. does not include that part of any
          take place through the Internet or similar                      contract or agreement:
          electronic means of communication;
                                                                         (1) That indemnifies a railroad for "bodily injury"
   provided the insured's responsibility to pay damages is                   or "property damage" arising out of construction
   determined in a "suit" on the merits, in the territory                    or demolition operations, within 50 feet of any
   described in Paragraph a. above or in a settlement we                     railroad property and affecting any railroad
   agree to.                                                                 bridge or trestle, tracks, road-beds, tunnel,
5. "Employee" includes a "leased worker". "Employee"                         underpass or crossing;
   does not include a "temporary worker".                                (2) That indemnifies an architect, engineer or
6. "Executive officer" means a person holding any of the                     surveyor for injury or damage arising out of:
   officer positions created by your charter, constitution,                  (a) Preparing, approving, or failing to prepare or
   bylaws or any other similar governing document.                               approve, maps, shop drawings, opinions,
7. "Hostile fire" means one which becomes uncontrollable                         reports, surveys, field orders, change orders
   or breaks out from where it was intended to be.                               or drawings and specifications; or
8. "Impaired property" means tangible property, other than                   (b) Giving directions or instructions, or failing
   "your product" or "your work", that cannot be used or is                      to give them, if that is the primary cause of
   less useful because:                                                          the injury or damage; or
   a. It incorporates "your product" or "your work" that is              (3) Under which the insured, if an architect,
      known or thought to be defective, deficient,                           engineer or surveyor, assumes liability for an
      inadequate or dangerous; or                                            injury or damage arising out of the insured's
   b. You have failed to fulfill the terms of a contract or                  rendering or failure to render professional
      agreement;                                                             services, including those listed in (2) above and
                                                                             supervisory, inspection, architectural or
   if such property can be restored to use by the repair,                    engineering activities.
   replacement, adjustment or removal of "your product"
   or "your work" or your fulfilling the terms of the
   contract or agreement.




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 10. "Leased worker" means a person leased to you by a                    (1) Equipment designed primarily for:
     labor leasing firm under an agreement between you and                    (a) Snow removal;
     the labor leasing firm, to perform duties related to the
     conduct of your business. "Leased worker" does not                       (b) Road maintenance, but not construction or
     include a "temporary worker".                                                resurfacing; or
 11. "Loading or unloading" means the handling of property:                   (c) Street cleaning;
     a. After it is moved from the place where it is accepted             (2) Cherry pickers and similar devices mounted on
        for movement into or onto an aircraft, watercraft or                  automobile or truck chassis and used to raise or
        "auto";                                                               lower workers; and
    b. While it is in or on an aircraft, watercraft or "auto";            (3) Air compressors, pumps and generators,
       or                                                                     including spraying, welding, building cleaning,
                                                                              geophysical exploration, lighting and well
     c. While it is being moved from an aircraft, watercraft                  servicing equipment.
        or "auto" to the place where it is finally delivered;
                                                                       However, "mobile equipment" does not include any
    but "loading or unloading" does not include the                    land vehicles that are subject to a compulsory or
    movement of property by means of a mechanical                      financial responsibility law or other motor vehicle
    device, other than a hand truck, that is not attached to           insurance law where it is licensed or principally
    the aircraft, watercraft or "auto".                                garaged. Land vehicles subject to a compulsory or
 12. "Mobile equipment" means any of the following types               financial responsibility law or other motor vehicle
     of land vehicles, including any attached machinery or             insurance law are considered "autos".
     equipment:                                                     13. "Occurrence" means an accident, including continuous
     a. Bulldozers, farm machinery, forklifts and other                 or repeated exposure to substantially the same general
        vehicles designed for use principally off public                harmful conditions.
        roads;                                                      14. "Personal and advertising injury" means injury,
    b. Vehicles maintained for use solely on or next to                 including consequential "bodily injury", arising out of
       premises you own or rent;                                        one or more of the following offenses:
     c. Vehicles that travel on crawler treads;                         a. False arrest, detention or imprisonment;
    d. Vehicles, whether self-propelled or not, maintained             b. Malicious prosecution;
       primarily to provide mobility to permanently                     c. The wrongful eviction from, wrongful entry into, or
       mounted:                                                            invasion of the right of private occupancy of a
       (1) Power cranes, shovels, loaders, diggers or drills;              room, dwelling or premises that a person occupies,
           or                                                              committed by or on behalf of its owner, landlord or
       (2) Road construction or resurfacing equipment                      lessor;
           such as graders, scrapers or rollers;                       d. Oral or written publication, in any manner, of
     e. Vehicles not described in Paragraph a., b., c. or d.              material that slanders or libels a person or
        above that are not self-propelled and are maintained              organization or disparages a person's or
        primarily to provide mobility to permanently                      organization's goods, products or services;
        attached equipment of the following types:                      e. Oral or written publication, in any manner, of
       (1) Air compressors, pumps and generators,                          material that violates a person's right of privacy;
           including spraying, welding, building cleaning,              f. The use of another's advertising idea in your
           geophysical exploration, lighting and well                      "advertisement"; or
           servicing equipment; or                                      g. Infringing upon another's copyright, trade dress or
       (2) Cherry pickers and similar devices used to raise                slogan in your "advertisement".
           or lower workers;                                        15. "Pollutants" mean any solid, liquid, gaseous or thermal
     f. Vehicles not described in Paragraph a., b., c. or d.            irritant or contaminant, including smoke, vapor, soot,
        above maintained primarily for purposes other than              fumes, acids, alkalis, chemicals and waste. Waste
        the transportation of persons or cargo.                         includes materials to be recycled, reconditioned or
        However, self-propelled vehicles with the following             reclaimed.
        types of permanently attached equipment are not
        "mobile equipment" but will be considered "autos":




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 16. "Products-completed operations hazard":                          As used in this definition, electronic data means
    a. Includes all "bodily injury" and "property damage"             information, facts or programs stored as or on, created
       occurring away from premises you own or rent and               or used on, or transmitted to or from computer
       arising out of "your product" or "your work" except:           software, including systems and applications software,
                                                                      hard or floppy disks, CD-ROMs, tapes, drives, cells,
       (1) Products that are still in your physical                   data processing devices or any other media which are
           possession; or                                             used with electronically controlled equipment.
       (2) Work that has not yet been completed or                 18. "Suit" means a civil proceeding in which damages
           abandoned. However, "your work" will be                     because of "bodily injury", "property damage" or
           deemed completed at the earliest of the                     "personal and advertising injury" to which this
           following times:                                            insurance applies are alleged. "Suit" includes:
           (a) When all of the work called for in your                 a. An arbitration proceeding in which such damages
               contract has been completed.                               are claimed and to which the insured must submit or
           (b) When all of the work to be done at the job                 does submit with our consent; or
               site has been completed if your contract                b. Any other alternative dispute resolution proceeding
               calls for work at more than one job site.                  in which such damages are claimed and to which
           (c) When that part of the work done at a job site              the insured submits with our consent.
               has been put to its intended use by any             19. "Temporary worker" means a person who is furnished
               person or organization other than another               to you to substitute for a permanent "employee" on
               contractor or subcontractor working on the              leave or to meet seasonal or short-term workload
               same project.                                           conditions.
           Work that may need service, maintenance,                20. "Volunteer worker" means a person who is not your
           correction, repair or replacement, but which is             "employee", and who donates his or her work and acts
           otherwise complete, will be treated as                      at the direction of and within the scope of duties
           completed.                                                  determined by you, and is not paid a fee, salary or other
    b. Does not include "bodily injury" or "property                   compensation by you or anyone else for their work
       damage" arising out of:                                         performed for you.
       (1) The transportation of property, unless the injury       21. "Your product":
           or damage arises out of a condition in or on a              a. Means:
           vehicle not owned or operated by you, and that
           condition was created by the "loading or                       (1) Any goods or products, other than real property,
           unloading" of that vehicle by any insured;                         manufactured, sold, handled, distributed or
                                                                              disposed of by:
       (2) The existence of tools, uninstalled equipment or
           abandoned or unused materials; or                                 (a) You;
       (3) Products or operations for which the                              (b) Others trading under your name; or
           classification, listed in the Declarations or in a                 (c) A person or organization whose business or
           policy Schedule, states that products-completed                        assets you have acquired; and
           operations are subject to the General Aggregate                (2) Containers (other than vehicles), materials, parts
           Limit.                                                             or equipment furnished in connection with such
 17. "Property damage" means:                                                 goods or products.
    a. Physical injury to tangible property, including all             b. Includes:
       resulting loss of use of that property. All such loss              (1) Warranties or representations made at any time
       of use shall be deemed to occur at the time of the                     with respect to the fitness, quality, durability,
       physical injury that caused it; or                                     performance or use of "your product"; and
    b. Loss of use of tangible property that is not                       (2) The providing of or failure to provide warnings
       physically injured. All such loss of use shall be                      or instructions.
       deemed to occur at the time of the "occurrence" that
       caused it.                                                      c. Does not include vending machines or other
                                                                          property rented to or located for the use of others
    For the purposes of this insurance, electronic data is not            but not sold.
    tangible property.




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 22. "Your work":                                                    b. Includes:
    a. Means:                                                           (1) Warranties or representations made at any time
       (1) Work or operations performed by you or on                        with respect to the fitness, quality, durability,
           your behalf; and                                                 performance or use of "your work"; and
       (2) Materials, parts or equipment furnished in                   (2) The providing of or failure to provide warnings
           connection with such work or operations.                         or instructions.




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  Policy Number: CA000017478-07                                                                                    CG 21 06 05 14

                                                                                                       Effective Date: 03/01/2019

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION - ACCESS OR DISCLOSURE OF
   CONFIDENTIAL OR PERSONAL INFORMATION AND
 DATA-RELATED LIABILITY - WITH LIMITED BODILY IN­
                JURY EXCEPTION
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. Exclusion 2.p. of Section I - Coverage A - Bodily Injury And Property Damage Liability is replaced by the follow­
    ing:
     2.   Exclusions
          This insurance does not apply to:
          p.   Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
               Damages arising out of:
               (1) Any access to or disclosure of any person's or organization's confidential or personal information, including
                   patents, trade secrets, processing methods, customer lists, financial information, credit card information,
                   health information or any other type of nonpublic information; or
               (2) The loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic
                   data.
               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
               expenses, public relations expenses or any other loss, cost or expense incurred by you or others arising out of
               that which is described in Paragraph (1) or (2) above.
               However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of “bodily in­
               jury”.
               As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
               on, or transmitted to or from computer software, including systems and applications software, hard or floppy
               disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with electroni­
               cally controlled equipment.
 B. The following is added to Paragraph 2. Exclusions of Section I - Coverage B - Personal And Advertising Injury Lia­
    bility:
     2.   Exclusions
          This insurance does not apply to:
          Access Or Disclosure Of Confidential Or Personal Information
          “Personal and advertising injury” arising out of any access to or disclosure of any person's or organization's confi­
          dential or personal information, including patents, trade secrets, processing methods, customer lists, financial infor­
          mation, credit card information, health information or any other type of nonpublic information.
          This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic ex­
          penses, public relations expenses or any other loss, cost or expense incurred by you or others arising out of any ac­
          cess to or disclosure of any person's or organization's confidential or personal information.




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Policy Number: CA000017478-07                                                                              CG 21 35 10 01

                                                                                               Effective Date: 03/01/2019


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION - COVERAGE C - MEDICAL PAYMENTS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


____________________________________________ SCHEDULE________________________________________
Description And Location Of Premises Or Classification:

ALL PREMISES AND ALL CLASSIFICATIONS



 (If no entry appears above, information required to com­           2. The following is added to Section I - Supplemen­
plete this endorsement will be shown in the Declarations as            tary Payments:
applicable to this endorsement.)                                        h. Expenses incurred by the insured for first aid
With respect to any premises or classification shown in the                administered to others at the time of an accident
Schedule:                                                                  for "bodily injury" to which this insurance ap­
     1. Section I - Coverage C - Medical Payments does                     plies.
         not apply and none of the references to it in the
         Coverage Part apply: and




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 Policy Number: CA000017478-07                                                                                CG 21 65 12 04

                                                                                                  Effective Date: 03/01/2019

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    TOTAL POLLUTION EXCLUSION WITH A BUILDING
  HEATING, COOLING AND DEHUMIDIFYING EQUIPMENT
      EXCEPTION AND A HOSTILE FIRE EXCEPTION
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

 Exclusion f. under Paragraph 2. Exclusions of Section I -                      (i) At any premises, site or location which is
 Coverage A - Bodily Injury And Property Damage                                      or was at any time used by or for any in­
 Liability is replaced by the following:                                             sured or others for the handling, storage,
 This insurance does not apply to:                                                   disposal, processing or treatment of
                                                                                     waste; or
 f. Pollution
                                                                                (ii) At any premises, site or location on which
     (1) "Bodily injury" or "property damage" which                                  any insured or any contractors or subcon­
         would not have occurred in whole or part but for                            tractors working directly or indirectly on
         the actual, alleged or threatened discharge, disper­                        any insured's behalf are performing oper­
         sal, seepage, migration, release or escape of "pol­                         ations to test for, monitor, clean up, re­
         lutants" at any time.                                                       move, contain, treat, detoxify, neutralize
          This exclusion does not apply to:                                          or in any way respond to, or assess the ef­
          (a) "Bodily injury" if sustained within a building                         fects of, "pollutants".
              which is or was at any time owned or occu­               (2) Any loss, cost or expense arising out of any:
              pied by, or rented or loaned to, any insured                 (a) Request, demand, order or statutory or regula­
              and caused by smoke, fumes, vapor or soot                        tory requirement that any insured or others
              produced by or originating from equipment                        test for, monitor, clean up, remove, contain,
              that is used to heat, cool or dehumidify the                     treat, detoxify or neutralize, or in any way re­
              building, or equipment that is used to heat wa­                  spond to, or assess the effects of, "pollutants";
              ter for personal use, by the building's occu­                    or
              pants or their guests; or
                                                                           (b) Claim or suit by or on behalf of a governmen­
          (b) "Bodily injury" or "property damage" arising                     tal authority for damages because of testing
              out of heat, smoke or ftunes from a "hostile                     for, monitoring, cleaning up, removing, con­
              fire" unless that "hostile fire" occurred or                     taining, treating, detoxifying or neutralizing,
              originated:                                                      or in any way responding to, or assessing the
                                                                               effects of, "pollutants".




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 Policy Number: CA000017478-07                                                                                    CG 21 75 01 15

                                                                                                       Effective Date: 03/01/2019

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION OF CERTIFIED ACTS OF TERRORISM
          AND EXCLUSION OF OTHER ACTS OF TERRORISM
            COMMITTED OUTSIDE THE UNITED STATES
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY

 A. The following exclusion is added:
     This insurance does not apply to:
     TERRORISM
     “Any injury or damage” arising, directly or indirectly, out of a “certified act of terrorism”, or out of an “other act of ter­
     rorism” that is committed outside of the United States (including its territories and possessions and Puerto Rico), but
     within the “coverage territory”. However, with respect to an “other act of terrorism”, this exclusion applies only when
     one or more of the following are attributed to such act:
     1.   The total of insured damage to all types of property exceeds $25,000,000 (valued in US dollars). In determining
          whether the $25,000,000 threshold is exceeded, we will include all insured damage sustained by property of all per­
          sons and entities affected by the terrorism and business interruption losses sustained by owners or occupants of the
          damaged property. For the purpose of this provision, insured damage means damage that is covered by any insur­
          ance plus damage that would be covered by any insurance but for the application of any terrorism exclusions; or
     2.   Fifty or more persons sustain death or serious physical injury. For the purposes of this provision, serious physical in­
          jury means:
          a.   Physical injury that involves a substantial risk of death; or
          b.   Protracted and obvious physical disfigurement; or
          c.   Protracted loss of or impairment of the function of a bodily member or organ; or
     3.   The terrorism involves the use, release or escape of nuclear materials, or directly or indirectly results in nuclear reac­
          tion or radiation or radioactive contamination; or
     4.   The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous biological or chemi­
          cal materials; or
     5.   Pathogenic or poisonous biological or chemical materials are released, and it appears that one purpose of the terror­
          ism was to release such materials.
     With respect to this exclusion, Paragraphs 1. and 2. describe the thresholds used to measure the magnitude of an incident
     of an “other act of terrorism” and the circumstances in which the threshold will apply for the purpose of determining
     whether this exclusion will apply to that incident.




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 B. The following definitions are added:
     1.   For the purposes of this endorsement, “any injury or damage” means any injury or damage covered under any Cov­
          erage Part to which this endorsement is applicable, and includes but is not limited to “bodily injury”, “property dam­
          age”, “personal and advertising injury”, “injury” or “environmental damage” as may be defined in any applicable
          Coverage Part.
     2.   “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with the
          provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The criteria
          contained in the Terrorism Risk Insurance Act for a “certified act of terrorism” include the following:
          a.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
               subject to the Terrorism Risk Insurance Act;
          b.   The act resulted in damage:
               (1) Within the United States (including its territories and possessions and Puerto Rico); or
               (2) Outside of the United States in the case of:
                   (a) An air carrier (as defined in Section 40102 of title 49, United States Code) or United States flag vessel
                       (or a vessel based principally in the United States, on which United States income tax is paid and
                       whose insurance coverage is subject to regulation in the United States), regardless of where the loss oc­
                       curs; or
                   (b) The premises of any United States mission; and
          c.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by
               an individual or individuals as part of an effort to coerce the civilian population of the United States or to influ­
               ence the policy or affect the conduct of the United States Government by coercion.
     3.   “Other act of terrorism” means a violent act or an act that is dangerous to human life, property or infrastructure that
          is committed by an individual or individuals and that appears to be part of an effort to coerce a civilian population or
          to influence the policy or affect the conduct of any government by coercion, and the act is not a “certified act of ter­
          rorism”.
          Multiple incidents of an “other act of terrorism” which occur within a seventy-two hour period and appear to be car­
          ried out in concert or to have a related purpose or common leadership shall be considered to be one incident.
 C. The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
    serve to create coverage for injury or damage that is otherwise excluded under this Coverage Part.




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  Policy Number: CA000017478-07                                                                              CG 24 04 05 09

                                                                                                  Effective Date: 03/01/2019


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                  AGAINST OTHERS TO US
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                        SCHEDULE
  Name Of Person Or Organization:

  Any person or organization, but only if:
  1. You have expressly agreed to the waiver in a written contract entered into by you; and
  2. The injury or damage occurs subsequent to the execution of the written contract.

  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 The following is added to Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV - Condi­
 tions:
 We waive any right of recovery we may have against the person or organization shown in the Schedule above because of
 payments we make for injury or damage arising out of your ongoing operations or “your work” done under a contract with
 that person or organization and included in the “products-completed operations hazard”. This waiver applies only to the per­
 son or organization shown in the Schedule above.




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  Policy Number: CA000017478-07                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                    CG 24 50 06 15


                   LIMITED COVERAGE FOR DESIGNATED
                          UNMANNED AIRCRAFT
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                          SCHEDULE
 ___________________________________Description Of Unmanned Aircraft___________________________________
     1. Any “unmanned aircraft” operated under a FAA Section 333 Exemption.
     2. Any “unmanned aircraft” weighing less than 4.4 pounds and operated under FAA Part 107 Rules.
     3. Any “unmanned aircraft” that:
         a. Weighs less than 4.4 pounds; and
         b. Is operated at least 5 nautical miles away from an airport or heliport having an operational control tower or
            published instrument flight procedure; and
         c. Is operated at least 5 nautical miles away from a military base or national park; and
         d. Is operated at an altitude below 400 feet; and
         e. Is manually flown within the unaided (other than corrective lenses) visual line of sight of the remote pilot in
            command or the person manipulating the flight controls of the “unmanned aircraft”.
     4. Any other “unmanned aircraft” endorsed to this policy.

                                         Description Of Operation(s) Or Projects)

      Operations directly related to the Business Description shown in the Declarations.

 _________________________________________ Limit Of Insurance__________________________________________
                                                  Paragraph C. below does not apply.
   Unmanned Aircraft Liability Aggregate Limit:
                                 ■’       b
                                                $ Please refer
                                                           ^ to oSection III
                                                                         ,,, - TLimits
                                                                                 *     ofi-.Insurance.
  Information required to complete this Schedule, if not shown above, will be shown in the Declarations._________________
 A. Exclusion 2.g. Aircraft, Auto Or Watercraft under Section I - Coverage A - Bodily Injury And Property Damage
    Liability is replaced by the following:
     2.   Exclusions
          This insurance does not apply to:
          g.   Aircraft, Auto Or Watercraft
               (1) Unmanned Aircraft
                   “Bodily injury” or “property damage” arising out of the ownership, maintenance, use or entrustment to oth­
                   ers of any aircraft that is an “unmanned aircraft”. Use includes operation and “loading or unloading”.
                   This Paragraph g.(l) applies even if the claims against any insured allege negligence or other wrongdoing
                   in the supervision, hiring, employment, training or monitoring of others by that insured, if the “occurrence”
                   which caused the “bodily injury” or “property damage” involved the ownership, maintenance, use or en­
                   trustment to others of any aircraft that is an “unmanned aircraft”.
                   This Paragraph g.(l) does not apply to “unmanned aircraft” described in the Schedule, but only with re­
                   spect to the operation(s) or project(s) described in the Schedule.




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                (2) Aircraft (Other Than Unmanned Aircraft), Auto Or Watercraft
                    “Bodily injury” or “property damage” arising out of the ownership, maintenance, use or entrustment to oth­
                    ers of any aircraft (other than “unmanned aircraft”), “auto” or watercraft owned or operated by or rented or
                    loaned to any insured. Use includes operation and “loading or unloading”.
                    This Paragraph g.(2) applies even if the claims against any insured allege negligence or other wrongdoing
                    in the supervision, hiring, employment, training or monitoring of others by that insured, if the “occurrence”
                    which caused the “bodily injury” or “property damage” involved the ownership, maintenance, use or en­
                    trustment to others of any aircraft (other than “unmanned aircraft”), “auto” or watercraft that is owned or
                    operated by or rented or loaned to any insured.
                    This Paragraph g.(2) does not apply to:
                    (a) A watercraft while ashore on premises you own or rent;
                    (b) A watercraft you do not own that is:
                         (i) Less than 26 feet long; and
                         (ii) Not being used to cany persons or property for a charge;
                    (c) Parking an “auto” on, or on the ways next to, premises you own or rent, provided the “auto” is not
                        owned by or rented or loaned to you or the insured;
                    (d) Liability assumed under any “insured contract” for the ownership, maintenance or use of aircraft or
                        watercraft; or
                    (e) “Bodily injury” or “property damage” arising out of:
                         (i) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                             qualify under the definition of “mobile equipment” if it were not subject to a compulsory or finan­
                             cial responsibility law or other motor vehicle insurance law where it is licensed or principally gar­
                             aged; or
                         (ii) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the defini­
                              tion of “mobile equipment”.
 B.   The following exclusion is added to Paragraph 2. Exclusions of Coverage B - Personal And Advertising Injury Lia­
      bility:
      2.   Exclusions
           This insurance does not apply to:
           Unmanned Aircraft
           “Personal and advertising injury” arising out of the ownership, maintenance, use or entrustment to others of any air­
           craft that is an “unmanned aircraft”. Use includes operation and “loading or unloading”.
           This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the supervi­
           sion, hiring, employment, training or monitoring of others by that insured, if the offense which caused the “personal
           and advertising injury” involved the ownership, maintenance, use or entrustment to others of any aircraft that is an
           “unmanned aircraft”.
           This exclusion does not apply to:
           a.   The use of another's advertising idea in your “advertisement”;
           b.   Infringing upon another's copyright, trade dress or slogan in your “advertisement”; or
           c.   “Unmanned aircraft” described in the Schedule, but only with respect to the operation(s) or project(s) described
                in the Schedule.
 C. If an Unmanned Aircraft Liability Aggregate Limit is shown in the Schedule, the following provisions are added to Sec­
    tion III - Limits Of Insurance:
      1.   Subject to Paragraph 2. or 3. of Section III - Limits Of Insurance, whichever applies, the Unmanned Aircraft Lia­
           bility Aggregate Limit shown in the Schedule is the most we will pay for the sum of:
           a.   Damages under Coverage A;


           b.   Damages under Coverage B; and




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          c.   Medical expenses under Coverage C;
          because of all “bodily injury”, “property damage” and “personal and advertising injury” arising out of the owner­
          ship, maintenance, use or entrustment to others of any aircraft that is an “unmanned aircraft”.
     2.   Paragraph 4., the Personal And Advertising Injury Limit, Paragraph 5., the Each Occurrence Limit, Paragraph 6., the
          Damage To Premises Rented To You Limit, and Paragraph 7,, the Medical Expense Limit, of Section III - Limits
          Of Insurance continue to apply to “bodily injury”, “property damage” and “personal and advertising injury”, as
          applicable, arising out of the ownership, maintenance, use or entrustment to others of any aircraft that is an “un­
          manned aircraft” but only if, and to the extent that, a limit of insurance is available under the Unmanned Aircraft
          Liability Aggregate Limit.
 D. The following definition is added to the Definitions section:
     “Unmanned aircraft” means an aircraft that is not:
     1.   Designed;
     2.   Manufactured; or
     3.   Modified after manufacture;
     to be controlled directly by a person from within or on the aircraft.




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                                                                                                       IL 00 17 11 98



                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                       b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara­                      and
      tions may cancel this policy by mailing or deliv­               c. Recommend changes.
      ering to us advance written notice of cancella­             2. We are not obligated to make any inspections,
      tion.                                                          surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliver­               such actions we do undertake relate only to in­
      ing to the first Named Insured written notice of               surability and the premiums to be charged. We
      cancellation at least:                                         do not make safety inspections. We do not un­
       a. 10 days before the effective date of cancel­               dertake to perform the duty of any person or
          lation if we cancel for nonpayment of premi­               organization to provide for the health or safety
          um; or                                                     of workers or the public. And we do not warrant
                                                                     that conditions:
       b. 30 days before the effective date of cancel­
          lation if we cancel for any other reason.                   a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first                 b. Comply with laws, regulations, codes or
      Named Insured's last mailing address known to                      standards.
      us.                                                         3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end               service or similar organization which makes in­
      on that date.                                                  surance inspections, surveys, reports or rec­
                                                                     ommendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                 4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first              any inspections, surveys, reports or recom­
      Named Insured cancels, the refund may be                       mendations we may make relative to certifica­
      less than pro rata. The cancellation will be ef­               tion, under state or municipal statutes, ordi­
      fective even if we have not made or offered a                  nances or regulations, of boilers, pressure ves­
      refund.                                                        sels or elevators.
   6. If notice is mailed, proof of mailing will be suffi­    E. Premiums
      cient proof of notice.                                      The first Named Insured shown in the Declara­
B. Changes                                                        tions:
   This policy contains all the agreements between                1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                     and
   The first Named Insured shown in the Declarations              2. Will be the payee for any return premiums we
   is authorized to make changes in the terms of this                pay.
   policy with our consent. This policy's terms can be        F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued                  Policy
   by us and made a part of this policy.
                                                                  Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                          transferred without our written consent except in
   We may examine and audit your books and rec­                   the case of death of an individual named insured.
   ords as they relate to this policy at any time during          If you die, your rights and duties will be transferred
   the policy period and up to three years afterward.             to your legal representative but only while acting
D. Inspections And Surveys                                        within the scope of duties as your legal representa­
   1. We have the right to:                                       tive. Until your legal representative is appointed,
                                                                  anyone having proper temporary custody of your
       a. Make inspections and surveys at any time;               property will have your rights and duties but only
                                                                  with respect to that property.




IL 00 17 11 98                    Copyright, Insurance Services Office, Inc., 1998                         Page 1 of 1     □
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Policy Number: CA000017478-07                                                                                 IL 00 21 07 02

                                                                                                 EfFective Date: 03/01/2019

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            NUCLEAR ENERGY LIABILITY ENDORSEMENT
                        (BROAD FORM)
This endorsement modifies insurance provided under the following:
      COMMERCIAL AUTOMOBILE COVERAGE PART
      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      FARM COVERAGE PART
      LIQUOR LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      POLLUTION LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      PROFESSIONAL LIABILITY COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART
      UNDERGROUND STORAGE TANK POLICY


1.    The insurance does not apply:                                   C. Under any Liability Coverage, to "bodily injury"
      A. Under any Liability Coverage, to "bodily injury"                or "property damage" resulting from "hazardous
          or "property damage":                                          properties" of "nuclear material", if:
          (1) With respect to which an "insured" under the                (1) The "nuclear material" (a) is at any "nuclear
              policy is also an insured under a nuclear ener­                 facility" owned by, or operated by or on be­
              gy liability policy issued by Nuclear Energy                    half of, an "insured" or (b) has been dis­
              Liability Insurance Association, Mutual                         charged or dispersed therefrom;
              Atomic Energy Liability Underwriters, Nucle­                (2) The "nuclear material" is contained in "spent
              ar Insurance Association of Canada or any of                    fuel" or "waste" at any time possessed, han­
              their successors, or would be an insured under                  dled, used, processed, stored, transported or
              any such policy but for its termination upon                    disposed of, by or on behalf of an "insured";
              exhaustion of its limit of liability; or                        or
          (2) Resulting from the "hazardous properties" of                (3) The "bodily injury" or "property damage"
              "nuclear material" and with respect to which                    arises out of the furnishing by an "insured" of
              (a) any person or organization is required to                   services, materials, parts or equipment in con­
              maintain financial protection pursuant to the                   nection with the planning, construction,
              Atomic Energy Act of 1954, or any law                           maintenance, operation or use of any "nuclear
              amendatory thereof, or (b) the "insured" is, or                 facility", but if such facility is located within
              had this policy not been issued would be, enti­                 the United States of America, its territories or
              tled to indemnity from the United States of                     possessions or Canada, this exclusion (3) ap­
              America, or any agency thereof, under any                       plies only to "property damage" to such "nu­
              agreement entered into by the United States of                  clear facility" and any property thereat.
              America, or any agency thereof, with any per­
              son or organization.
      B. Under any Medical Payments coverage, to expens­
         es incurred with respect to "bodily injury" result­
         ing from the "hazardous properties" of "nuclear
         material" and arising out of the operation of a "nu­
         clear facility" by any person or organization.




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 2.   As used in this endorsement:                                          (c) Any equipment or device used for the pro­
      "Hazardous properties" includes radioactive, toxic or                     cessing, fabricating or alloying of "special nu­
      explosive properties.                                                     clear material" if at any time the total amount
                                                                                of such material in the custody of the "in­
      "Nuclear material" means "source material", "Special                      sured" at the premises where such equipment
      nuclear material" or "by-product material".                               or device is located consists of or contains
      "Source material", "special nuclear material", and "by­                   more than 25 grams of plutonium or uranium
      product material" have the meanings given them in the                     233 or any combination thereof, or more than
      Atomic Energy Act of 1954 or in any law amendatory                        250 grams of uranium 235;
      thereof.                                                              (d) Any structure, basin, excavation, premises or
      "Spent fuel" means any fuel element or fuel compo­                         place prepared or used for the storage or dis­
      nent, solid or liquid, which has been used or exposed to                   posal of "waste";
      radiation in a "nuclear reactor".                                and includes the site on which any of the foregoing is
      "Waste" means any waste material (a) containing "by­             located, all operations conducted on such site and all
      product material" other than the tailings or wastes pro­         premises used for such operations.
      duced by the extraction or concentration of uranium or           "Nuclear reactor" means any apparatus designed or
      thorium from any ore processed primarily for its                 used to sustain nuclear fission in a self-supporting chain
      "source material" content, and (b) resulting from the            reaction or to contain a critical mass of fissionable ma­
      operation by any person or organization of any "nucle­           terial.
      ar facility" included under the first two paragraphs of
      the definition of "nuclear facility".                            "Property damage" includes all forms of radioactive
                                                                       contamination of property.
      "Nuclear facility" means:
         (a) Any "nuclear reactor";
          (b) Any equipment or device designed or used for
              (1) separating the isotopes of uranium or plu­
              tonium, (2) processing or utilizing "spent
              fuel", or (3) handling, processing or packag­
              ing "waste";




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                                                                                                      EfFective Date: 03/01/2019

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                       INDIANA CHANGES - CANCELLATION
                              AND NONRENEWAL
 This endorsement modifies insurance provided under the following:

    CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
    EQUIPMENT BREAKDOWN COVERAGE PART
    FARM COVERAGE PART
    FARM UMBRELLA LIABILITY POLICY
    LIQUOR LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

 A. Paragraph 2. of the Cancellation Common Policy                                 (1) 10 days before the effective date of can­
    Condition is replaced by the following:                                            cellation if we cancel for nonpayment of
     2.    Cancellation Of Policies In Effect                                          premium;
           a.   90 Days Or Less                                                    (2) 20 days before the effective date of can­
                                                                                       cellation if you have perpetrated a fraud
                If this policy has been in effect for 90 days or                       or material misrepresentation on us; or
                less, we may cancel this policy by mailing or
                delivering to the first Named Insured written                      (3) 45 days before the effective date of can­
                notice of cancellation at least:                                       cellation if:
                (1) 10 days before the effective date of can­                           (a) There has been a substantial change
                    cellation if we cancel for nonpayment of                                in the scale of risk covered by this
                    premium;                                                                policy;
                (2) 20 days before the effective date of can­                           (b) Reinsurance of the risk associated
                    cellation if you have perpetrated a fraud                               with this policy has been cancelled;
                    or material misrepresentation on us; or                                 or
                (3) 30 days before the effective date of can­                           (c) You have failed to comply with rea­
                    cellation if we cancel for any other rea­                               sonable safety recommendations.
                    son.                                             B. The following is added to the Common Policy
           b.   More Than 90 Days                                       Conditions and supersedes any provision to the
                                                                        contrary.
                If this policy has been in effect for more than
                90 days, or is a renewal of a policy we issued,          NONRENEWAL
                we may cancel this policy, only for one or                1.   If we elect not to renew this policy, we will mail or
                more of the reasons listed below, by mailing                   deliver to the first Named Insured written notice of
                or delivering to the first Named Insured writ­                 nonrenewal at least 45 days before:
                ten notice of cancellation at least:




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         a.   The expiration date of this policy, if the policy        2.   We will mail or deliver our notice to the first
              is written for a term of one year or less; or                 Named Insured's last mailing address known to us.
         b.   The anniversary date of this policy, if the                   If notice is mailed, proof of mailing will be
              policy is written for a term of more than one                 sufficient proof of notice.
              year.




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Policy Number: CA000017478-07                                                                               AD 06 54 01 03

                                                                                                EfFective Date: 03/01/2019

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                            OTHER INSURANCE

It is agreed that SECTION IV-COMMERCIAL GENERAL                2.   This insurance is excess over all other valid and col­
LIABILITY CONDITIONS paragraph 4. Other Insurance                   lectible insurance available to the insured for a loss we
is deleted in its entirety and replaced by the following:           cover under this policy.
1. This insurance is primary with respect to homeowners        3.   We will have no duty under this insurance to defend
   insurance maintained by a volunteer, employee, direc­            any claim or "suit" that any other insurer has a duty to
   tor or officer who is judged by us to have had no direct         defend. If no other insurer defends, we will undertake
   involvement in the covered loss.                                 to do so, but we will be entitled to the insured's rights
                                                                    against all those other insurers.




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 Policy Number: CA000017478-07                                                                             AD 06 62 02 04

                                                                                                EfFective Date: 03/01/2019


          THIS ENDORSEMENT CHANGES THE POLICY PLEASE READ IT CAREFULLY.

              EMPLOYEE BENEFITS LIABILITY COVERAGE
                    CLAIMS MADE COVERAGE
 This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                          SCHEDULE


 1.   Limits of Liability
      $    1,000,000                 each claim
      $    1,000,000                 aggregate

 2.   Deductible
      $ 1,000                        each claim


 3.   Numbers of Employees              ALL
      Premium                      $ INCLUDED

 4.    Retroactive Date:     3/1/2012


 I.   COVERAGES                                                    This insurance applies to damages only if a claim for
 1.   Insuring Agreement                                           damages is first made against you during the policy peri­
                                                                   od. If during this policy period you become aware of any
      We will pay those sums which you become legally obli­        occurrences or circumstances which might result in a
      gated to pay as damages sustained by any employee,           claim or claims under this insurance and notice thereof is
      former employee, prospective employee or the benefi­         given to us as soon as practicable in accordance with
      ciaries or legal representatives thereof caused by your      Section IV, Conditions 2 of the policy, it is agreed that
      negligent act, error or omission or any other person for     any subsequent claim arising out of such occurrences or
      whose acts you are legally liable in the "administration"    circumstances, whether made during or after the expira­
      of your "Employee Benefits Programs" in the "policy ter­     tion of this endorsement period (but no later than sixty
      ritory". No other obligation or liability to pay sums or     days after the expiration of this endorsement period),
      perform acts or services is covered unless explicitly pro­   shall be treated as a claim made during this endorsement
      vided for under SUPPLEMENTARY PAYMENTS.                      period.
      We will have the right and duty to defend any suit seek­     A claim by a person or organization seeking damages
      ing damages, except,                                         will be deemed to have been made when notice of such
      (a) the amount we will pay for damages is limited as de­     claim is received and recorded by you or by us, whichev­
           scribed in SECTION III-LIMITS OF INSURANCE;             er comes first.
      (b) we may, at our discretion, investigate any negligent     All claims for damages to the same person will be
          act, error or omission and settle any claim or suit      deemed to have been made at the time the first of those
          that may result, and                                     claims is made against you.
      (c) our right and duty to defend ends when the applica­
          ble limit of insurance has been used up in the pay­
          ment ofjudgments, settlements or
          SUPPLEMENTARY PAYMENTS

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 2.   Exclusions                                                            der the Employee Retirement Income Security Act
      This insurance does not apply to:                                     of 1974, including any amendments and regulations
                                                                            relating thereto, while acting in their capacity as
      (a) Damages arising out of a negligent act, error or                  such.
          omission which:
                                                                         This insurance does not apply to loss arising out of the
          (1) occurred prior to the policy period or the Retro­          conduct of any partnership or joint venture in which you
              active Date shown in the Schedule, whichever is            are a partner or member which is not designated in the
              earlier; and                                               policy as a "Named Insured".
          (2) you knew or should have known prior to the            III. LIMITS OF LIABILITY
              policy period might result in a claim;
                                                                        The limit of liability stated in the Schedule of this en­
      (b) damages due to any dishonest, fraudulent, criminal            dorsement as applicable to "each claim" is the limit of
          or malicious act;                                             your liability for all damages included in each claim to
      (c) damages due to libel, slander, discrimination, humil­         which this insurance applies; provided that the term
          iation, emotional distress, harassment, or termination        "each claim" includes all claims because of any loss or
          from employment;                                              losses sustained by any one employee or former employ­
                                                                        ee and the estate, heirs, legal representatives, beneficiar­
      (d) injury to, or sickness, disease or death of any per­
                                                                        ies or assigns of such employee or former employee, as
          son, or to injury to or destruction of any tangible
                                                                        the result of any act, error or omission or combination of
          property, including the loss of use thereof;
                                                                        related acts, errors or omissions.
      (e) any loss or claim arising out of failure of perfor­
                                                                        Subject to the foregoing provisions respecting the limit
          mance of any contract by an insurer;
                                                                        of liability for "each claim", the limit of liability stated in
      (f) your failure to comply with any law concerning                the Schedule as "aggregate" is the total limit of our liabil­
          workers' compensation, unemployment insurance,                ity for all damages because of all losses under this insur­
          social security or disability benefits;                       ance including all SUPPLEMENTARY PAYMENTS.
      (g) any claim based upon;                                         The inclusion of this endorsement shall not increase our
          (1) failure of stock or other investments to perform          Limits of Liability as stated in the policy.
              as represented by you;                                IV. ADDITIONAL CONDITIONS
          (2) advice given by you to an employee to partici­            All of the conditions of the policy apply except, as re­
              pate or not to participate in stock subscription          spects the insurance provided by this endorsement:
              plans;
                                                                        (a) Premium:
       (3) the investment or non-investment of funds.
                                                                        The premium stated in this endorsement is an estimated
 II. WHO IS AN INSURED                                                  premium only. Upon termination of each annual period
 1.   If you are designated in the Declarations as:                     of this policy, you, on request, will furnish us with a
                                                                        statement of personnel changes, and the earned premi­
      (a) an individual, the person so designated but only with         ums shall be computed on the average number of em­
           respect to the conduct of a business of which you are        ployees at the beginning and end of such period. If the
           the sole proprietor, and your spouse with respect to         earned premium thus computed exceeds the estimated
           the conduct of such a business;                              advance premium, you will pay the excess to us; if less,
      (b) a partnership or joint venture, the partnership or            we will return to you the unearned portion subject to the
          joint venture so designated and any partner or mem­           Minimum Premium for this insurance.
          ber thereof but only with respect to their liability as       (b) Your Duties in the event of Negligent Act, Error or
          such;                                                              Omission, Claim or Suit:
      (c) other than an individual, partnership, or joint ven­              If any claim is made against you or if you leam of
          ture, the organization so designated and any execu­               any occurrences or circumstances which might result
          tive officer, director, or stockholder thereof while              in a claim hereunder, written notice shall be given by
          acting within the scope of their duties as such;                  you as soon as practicable in accordance with the
 2.   Each of the following is also an insured:                             requirements of Condition 2 of the policy.
      (a) any of your employees authorized to act in the ad­            (c) The following Condition is added:
          ministration of your "Employee Benefits Programs",                The Deductible amount shown in the Schedule of
          while acting within the scope of their duties in con­             this endorsement shall apply to all payments (dam­
          nection therewith; provided that the insurance shall              ages or supplementary payments) under this cover­
          not apply to any person included as a fiduciary un                age. The terms and conditions of the Liability De­
                                                                            ductible Endorsement attached to this policy apply
                                                                            to the Deductible for this coverage.




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    (d) The following Condition is added:                          (b) any other employee benefit plan or program added
                                                                       to your "Employee Benefits Program" after the ef­
        If the Retroactive Date shown in the Schedule is ear­          fective date of this endorsement provided that writ­
        lier than the policy period, this insurance is excess          ten notice is given to us within 30 days of the effec­
        over any other similar insurance purchased by you              tive date thereof and provided further that such addi­
        that is effective prior to the beginning of the policy         tion is endorsed on this policy.
        period. When this insurance is excess, all of the
        terms and conditions of Section IV-Condition 4.b.          "Administration" means:
        apply.                                                     (a) providing interpretations and giving counsel to your
V. DEFINITIONS                                                           employees regarding your "Employee Benefits Pro­
                                                                         grams";
   When used in reference to this insurance:
                                                                   (b) handling records in connection with your "Employee
    "Employee Benefit Programs" means any of the follow­                 Benefits Programs";
    ing employee benefit plans and programs maintained for
    the benefit of your employees or former employees:             (c) the enrollment, termination or cancellation of em­
                                                                         ployees under your "Employee Benefits Programs",
    (a) group life insurance, group accident and health in­
        surance, profit sharing plans, pension plans, employ­      "Policy Territory" means the United States of America,
        ee stock subscription plans, workers' compensation,        its territories or possessions, or Canada.
        unemployment insurance, salary continuation plans,
        social security, disability benefits insurance and
        travel, savings or vacation plans; and




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                                                                                                EfFective Date: 03/01/2019

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      DESIGNATED LOCATION(S) GENERAL
                             AGGREGATE LIMIT
                          (WITH TOTAL AGGREGATE LIMIT FOR COVERAGES A, B AND C)



 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                           SCHEDULE

 Designated Locations):
 ALL DESIGNATED LOCATIONS

 (If no entry appears above, information required to com­             3.   Any payments made under COVERAGE A for
 plete this endorsement will be shown in the Declarations as               damages or under COVERAGE C for medical ex­
 applicable to this endorsement.)                                          penses shall reduce the Designated Location Gen­
 A. For all sums which the insured becomes legally obli­                   eral Aggregate Limit for that designated “loca­
    gated to pay as damages caused by “occurrences” un­                    tion”. Such payments shall not reduce the General
    der COVERAGE A (SECTION I), and for all medical                        Aggregate Limit shown in the Declarations nor
    expenses caused by accidents under COVERAGE C                          shall they reduce any other Designated Location
    (SECTION I), which can be attributed only to opera­                    General Aggregate Limit for any other designated
    tions at a single designated “location” shown in the                   “location” shown in the Schedule above.
    Schedule above:                                                   4.  The limits shown in the Declarations for Each Oc­
    1. A separate Designated Location General Aggre­                      currence, Fire Damage and Medical Expense con­
         gate Limit applies to each designated “location”,                tinue to apply. However, instead of being subject
         and that limit is equal to the amount of the General             to the General Aggregate Limit shown in the Dec­
         Aggregate Limit shown in the Declarations.                       larations, such limits will be subject to the appli­
                                                                          cable Designated Location General Aggregate
          However, the most we will pay under the Desig­                  Limit.
          nated Location General Aggregate Limit for all
          Designated “Locations” combined is: $10,000,000        B. For all sums which the insured becomes legally obligat­
                                                                    ed to pay as damages caused by “occurrences” under
                                                                    COVERAGE A (SECTION I), and for all medical ex­
     2.   The Designated Location General Aggregate Limit           penses caused by accidents under COVERAGE C
          is the most we will pay for the sum of all damages        (SECTION I), which cannot be attributed only to opera­
          under COVERAGE A, except damages because of               tions at a single designated “location” shown in the
          “bodily injury” or “property damage” included in          Schedule above:
          the “products-completed operations hazard”, and
          for medical expenses under COVERAGE C re­                   1. Any payments made under COVERAGE A for
          gardless of the number of:                                      damages or under COVERAGE C for medical ex­
                                                                          penses shall reduce the amount available under the
          a. Insureds;                                                    General Aggregate Limit or the Products-
          b.   Claims made or “suits” brought; or                         Completed Operations Aggregate Limit, whichev­
          c.   Persons or organizations making claims or                  er is applicable; and
               bringing “suits”.                                     2. Such payments shall not reduce any Designated
                                                                          Location General Aggregate Limit.




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 C. When coverage for liability arising out of the “products-           “Location” means premises involving the same or con­
    completed operations hazard” is provided, any pay­                  necting lots, or premises whose connection is interrupt­
    ments for damages because of “bodily injury” or “prop­              ed only by a street, roadway, waterway or right-of-way
    erty damage” included in the “products-completed op­                of a railroad.
    erations hazard” will reduce the Products-Completed
    Operations Aggregate Limit, and not reduce the General         E. The provisions of Limits Of Insurance (SECTION III)
    Aggregate Limit nor the Designated Location General               not otherwise modified by this endorsement shall con­
    Aggregate Limit.                                                  tinue to apply as stipulated.
 D. For the purposes of this endorsement, the Definitions
    Section is amended by the addition of the following def­
    inition:




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 Policy Number: CA000017478-07                                                                               AD 66 03 01 95

                                                                                                  EfFective Date: 03/01/2019

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              INDEPENDENT CONTRACTORS
                                 PRIMARY INSURANCE
                                      SCHEDULE
 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE PART



 It is agreed that any independent contractors utilized by you    It is further agreed that, subject to the above, such
 shall have in force insurance of the type described in the       insurance as is provided by this policy shall be excess over
 schedule below and with limits of liability for such             and not contributing with the insurance described in the
 insurance equal to or greater than those shown in the            schedule. The terms and conditions of the policy relating
 schedule.                                                        to “Other insurance” are amended accordingly.


                                                          COVERAGE

                                                 Commercial General Liability

                                                   LIMITS OF INSURANCE

 General Aggregate Limit                                                                $   $2,000,000
 (Other than Products - Completed Operations)
 Products - Completed Operations Aggregate Limit                                        $ $2,000,000
 Personal and Advertising Injury Limit                                                  $ $1,000,000
 Each Occurrence Limit                                                                  $ $1,000,000




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                                                                                                  EfFective Date: 03/01/2019

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MINIMUM PREMIUM AND MINIMUM RETAINED
           PREMIUM AMENDATORY ENDORSEMENT
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART


 1. Conditions. Premium Audit as shown in SECTION                     You shall maintain records of such information as is
    IV- CONDITIONS is deleted and replaced by the                     necessary for premium computation, and shall send
    following condition:                                              copies of such records to us at the end of the policy
    5.   Premium Audit                                                period and at such times during the policy period as we
                                                                      may direct.
    All premiums for this policy shall be computed in
    accordance with our rules, rates, rating plans,               2. It is further agreed that Section A. Cancellation,
    premiums and minimum premiums applicable to the                  paragraph 5. of the COMMON POLICY
    Insurance afforded herein.                                       CONDITIONS IS amended to read as follows:
    Premium designated in this policy as Advance                      5.   If the policy is cancelled, we will send the first
    Premium is a Deposit Premium which shall be credited                   Named Insured any premium refund due.
    to the amount of the earned premium due at the end of             If we cancel, the refund will be the lesser of the pro
    the policy period. At the close of each period (or part           rata of the actual earned premium or Minimum
    thereof terminating with the end of policy period),               Premium. If the Named Insured cancels, the refund
    designated in the DECLARATIONS as the audit                       may be less than pro rata. However in no event shall
    period, the earned premium shall be computed for such             we retain less than 25% of the Advance Premium
    period and, upon notice thereof to the first Named                shown in the DECLARATIONS.
    Insured, shall become due and payable.
    Should it become necessary to institute collection
    activities, including litigation, in order to collect the
    additional earned premium, then you shall be
    responsible for 100% of the expenses, fees and costs
    incurred by the Company in that regard plus any
    collectible interest. If the total computed earned
    premium for the policy period is less than the premium
    previously paid, then we shall receive and retain no
    less than the minimum premium(s) listed in the
    coverage part(s) attached hereto.




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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           STOP GAP EMPLOYERS LIABILITY ENDORSEMENT
 This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART


 It is agreed that this policy is hereby amended as indicated.        a.   to "bodily injury" intentionally caused or aggra­
 All other terms and conditions of this policy remain un­                  vated by or at your direction, or "bodily injury" re­
 changed.                                                                  sulting from an act which is determined to have
 SECTION I COVERAGES                                                       been committed by or at your direction with the
                                                                           belief that an injury is substantially certain to oc­
 COVERAGE D. EMPLOYERS LIABILITY                                           cur;
 1. Insuring Agreement:                                               b.   to liability assumed by you under any contract or
      a.    We will pay those sums that you become legally                 agreement;
            obligated to pay as damages because of "bodily in­        c.   to any obligation for which you or any carrier as
            jury" caused by an accident or disease to any em­              your insurer may be held liable under any workers'
            ployee of yours arising out of and in the course of            compensation or occupational disease law, any un­
            their employment provided the employee is report­              employment compensation or disability benefits
            ed and declared under a workers' compensation                  law, or under any similar law;
            fund of one or more of the following states:
            Washington, West Virginia, Wyoming, North Da­             d.   with respect to any employee employed in viola­
            kota, Ohio or Nevada. No other obligation or lia­              tion of law with your knowledge or acquiescence
            bility to pay sums or perform acts or services is              or any of your executive officers;
            covered unless explicitly provided for under SUP­         e.   to any claim brought against you by or on behalf
            PLEMENTARY PAYMENTS - COVERAGES                                of any employee for "bodily injury" or death re­
            A AND B. This insurance applies only to "bodily                sulting therefrom (1) if benefits therefore under
            injury" which occurs during the policy period.                 any workers' compensation or occupational disease
            The "bodily injury" must be caused by an "occur­               law are accepted by or on behalf of such employee
            rence." The "occurrence" must take place in the                or (2) with respect to which your defenses have
             "coverage territory." We will have the right and              been abrogated by reason of your failure to com­
            duty to defend any "suit" seeking those damages.               ply with the provisions of any workers' compensa­
            But:                                                           tion or occupational disease law;
            (1) The amount we will pay for damages is lim­            f.   to "bodily injury" or death resulting therefrom (1)
                ited as described herein;                                  sustained by any member of the flying crew of an
            (2) We may investigate and settle any claim or                 aircraft, (2) sustained by a master or member of
                "suit" at our discretion; and                              the crew of any vessel, (3) sustained by any person
                                                                           subject to the Longshoremens and Harbor Work­
            (3) Our right and duty to defend end when we                   ers' Compensation Act (33 USC Sections 901-
                have used up the applicable limit of insurance             950), The Federal Coal Mine Health and Safety
                in the payment ofjudgments or settlements                  Act of 1969 (30 USC Sections 931-942) or The
                under Coverages A, B or D or medical ex­                   Federal Employers' Liability Act (45 USC Sec­
                penses under Coverage C.                                   tions 51-60), or any amendment to those laws;
      b.    Damages because of "bodily injury" include dam­           g.   to any claim sustained by any employee not de­
            ages claimed by any person or organization for                 scribed in the Insuring Agreement of this en­
            care, loss of services or death resulting at any time          dorsement; or
            from the "bodily injury."
 2.   Exclusions:
      This insurance does not apply to:




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     h.   to liability arising out of collusion, criticism, de­      2.   Bodily Injury by Disease $1,000,000 each employee,
          motion, evaluation, reassignment, discipline, def­              is the most we will pay for all damages because of
          amation harassment, humiliation, discrimination                 "bodily injury" by disease to any one employee.
          against or termination of any employee, or any
          personnel practices, policies, acts or omissions;          3.   Bodily Injury by Disease $1,000,000 policy limit, is
                                                                          the most we will pay for all damages covered by this
     i.   to liability arising out of "bodily injury", disease or         insurance and arising out of "bodily injury" by disease,
          sickness, including death at any time resulting                 regardless of the number of employees who sustain
          therefrom, for past, present or future claims arising           "bodily injury" by disease.
          in whole or in part, either directly or indirectly, out
          of the manufacture, distribution, sale, resale, re­        "Bodily injury" by disease does not include disease that
          branding, installation, repair, removal, encapsula­        results directly from "bodily injury" by accident
          tion, abatement, replacement or handling of expo­          3. The General Aggregate Limit is the most we will pay
          sure to or testing for, asbestos or products                  for the sum of:
          containing asbestos whether or not the asbestos is
          or was at any time airborne as a fiber or particle              a.   Medical expenses under Coverage C; and
          contained in a product, carried on clothing, in­                b.   Damages under Coverage A, Coverage B and
          haled, transmitted in any fashion or found in any                    Coverage D, except damages because of injury
          form whatsoever.                                                     and damage included in the "products-completed
 SUPPLEMENTARY PAYMENTS - COVERAGES A                                          operations" hazard
 AND B (SECTION I) is extended to apply to coverage                  SECTION IV - COMMERCIAL GENERAL LIABILITY
 provided by this endorsement.
                                                                     CONDITIONS is extended to apply to coverage provided
 SECTION II - WHO IS AN INSURED                                      by this endorsement.
 You are an insured if you are an employer named in the              DEFINITIONS (SECTION V - CG 00 01) (SECTION VI -
 Declaration of this policy. If that employer is a partnership,      CG 00 02) is extended to apply to coverage provided by
 and if you are one of its partners, you are an insured, but         this endorsement.
 only in your capacity as an employer of the partnership's
 employees.                                                          The premium for this endorsement shall be computed upon
                                                                     the remuneration earned by such employees as are reported
 SECTION III - LIMITS OF INSURANCE                                   under a workers' compensation law of the state(s) named
 Regardless of the number of (1) insureds under this policy,         herein.
 (2) persons who sustain "bodily injury" or (3) claims made
 or "suits" brought on account of "bodily injury" our liability
 for the coverage provided by this endorsement is limited as
 follows:
 1. Bodily Injury by Accident $ 1,000,000 each accident,
      is the most we will pay for all damages covered by this
      endorsement because of "bodily injury" to one or more
      employees in any accident. A disease is not "bodily in­
      jury" by accident unless it results directly from "bodily
      injury" by accident.




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                                                                                                        EfFective Date: 03/01/2019


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

     LONG TERM EXPOSURE EXCLUSIONS - JOINT FORM
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
     RAILROAD PROTECTIVE LIABILITY COVERAGE FORM


                                  ASBESTOS EXCLUSION (ABSOLUTE)
 This insurance does not apply to liability, injury or damages of any kind, to include but not limited to “bodily injury”, “prop­
 erty damage” or “personal and advertising injury” including costs or expenses, actually or allegedly arising out of, related to,
 caused by, contributed to by, or in any way connected with actual, alleged or threatened past, present or future claims arising
 in whole or in part, either directly or indirectly, out of the mining, manufacturing, distribution, sale, resale, rebranding, instal­
 lation, repair, removal, encapsulation, abatement, replacement or handling of, exposure to, testing for or failure to disclose the
 presence of asbestos, products containing asbestos, or products designed or used to protect from the inhalation, ingestion,
 contact with or other exposure to asbestos whether or not the asbestos is or was at any time airborne as a fume, dust, powder,
 fiber or particle, contained in a product, carried on clothing, inhaled, transmitted in any fashion or found in any form whatso­
 ever.
 It is further agreed that this insurance does not apply to any loss, cost or expense including but not limited to, payment for
 investigation or defense, fines, penalties, interest and other costs or expenses, arising out of or related to any:
 (1) Clean up or removal of asbestos or products and materials containing asbestos;
 (2) Such actions as may be necessary to monitor, assess and evaluate the release or threat of same, of asbestos or products
     and material containing asbestos;
 (3) Disposal of asbestos substances or the taking of such other action as may be necessary to temporarily or permanently
     prevent, minimize or mitigate damage to the public health or welfare or to the environment, which may otherwise result;
 (4) Compliance with any law or regulation regarding asbestos;
 (5) Existence, storage, handling or transportation of asbestos;
 (6) Any supervision, instructions, recommendations, warranties (express or implied), warnings or advice given or which
     should have been given.
 We shall have no duty to investigate, defend or indemnify any insured against any loss, claim, “suit,” demand, fine or other
 proceeding alleging injury or damages of any kind, to include but not limited to “bodily injury,” “property damage,” or “per­
 sonal and advertising injury” to which this endorsement applies.


                                       LEAD EXCLUSION (ABSOLUTE)
 This insurance does not apply to liability, injury or damages of any kind, to include but not limited to “bodily injury”,
 “property damage” or “personal and advertising injury” including costs or expenses, actually or allegedly arising out of,
 related to, caused by, contributed to by, or in any way connected with actual, alleged or threatened past, present or future
 claims arising in whole or in part, either directly or indirectly, out of the mining, manufacturing, distribution, sale, resale,




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rebranding, installation, repair, removal, encapsulation, abatement, replacement or handling of, exposure to, ingestion of or
testing for or failure to disclose the presence of lead, products containing lead, or products designed or used to protect from
the inhalation, ingestion, contact with or other exposure to lead, whether or not the lead is or was at any time airborne as a
fume, dust, powder, fiber or particle, contained in a product, carried on clothing, inhaled, transmitted in any fashion or found
in any form whatsoever.
It is further agreed that this insurance does not apply to any loss, cost or expense, including but not limited to payment for
investigation or defense, fines, penalties, interest and other costs or expenses, arising out of or related to any:
(1) Clean up or removal of lead or products and materials containing lead;
(2) Such actions as may be necessary to monitor, assess and evaluate the release or threat of same, of lead or products and
    material containing lead;
(3) Disposal of lead substances or the taking of such other action as may be necessary to temporarily or permanently prevent,
    minimize or mitigate damage to the public health or welfare or to the environment, which may otherwise result;
(4) Compliance with any law or regulation regarding lead;
(5) Existence, storage, handling or transportation of lead;
(6) Any supervision, instructions, recommendations, warranties (express or implied), warnings or advice given or which
    should have been given.
We shall have no duty to investigate, defend or indemnify any insured against any loss, claim, “suit,” demand, fine or other
proceeding alleging injury or damages of any kind, to include but not limited to “bodily injury,” “property damage,” or “per­
sonal and advertising injury” to which this endorsement applies.


       MICROORGANISMS, BIOLOGICAL ORGANISMS OR ORGANIC
     CONTAMINANTS EXCLUSION (GENERAL LIABILITY BROAD FORM)
This insurance does not apply to:
(1) Liability, injury or damages of any kind, to include but not limited to “bodily injury”, “property damage” or “ personal
    and advertising injury”, including costs or expenses, actually or allegedly arising out of, related to, caused by, contributed
    to by, or in any way connected with actual, alleged or threatened past, present or future claims arising in whole or in part,
    either directly or indirectly, out of the exposure to, presence of, formation of, existence of or actual, alleged or threatened
    discharge, dispersal, seepage, migration, release or escape of any microorganisms, biological organisms or organic con­
    taminants, including but not limited to mold, mildew, fungus, spores, yeast or other toxins, allergens, infectious agents,
    wet or dry rot or rust, or materials of any kind containing them at any time, regardless of the cause of growth, prolifera­
    tion or secretion; or
(2) Any loss, cost or expense arising out of any:
    (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for, monitor, clean up,
        remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of microorganisms, bio­
        logical organisms or organic contaminants, including but not limited to mold, mildew, fungus, spores, yeast, or other
        toxins, allergens, infectious agents, wet or dry rot or rust, or any materials containing them at any time, regardless of
        the cause of growth, proliferation or secretion.
    (b) Claim or “suit” by or on behalf of a governmental authority for damages because of testing for, monitoring, cleaning
        up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or assessing the effects
        of microorganisms, biological organisms or organic contaminants, including but not limited to mold, mildew, fungus,
        spores, yeast, or other toxins, allergens, infectious agents, wet or dry rot or rust, or any materials containing them at
        any time, regardless of the cause of growth, proliferation or secretion.
We shall have no duty to investigate, defend or indemnify any insured against any loss, claim, “suit” or other proceeding
alleging injury or damages of any kind, to include but not limited to “bodily injury”, “property damage” or “personal injury
and advertising injury” to which this endorsement applies.




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                                      SILICA EXCLUSION (ABSOLUTE)
 This insurance does not apply to liability, injury or damages of any kind, to include but not limited to “bodily injury”, “prop­
 erty damage” or “personal and advertising injury” including costs or expenses, actually or allegedly arising out of, related to,
 caused by, contributed to by, or in any way connected with actual, alleged, or threatened past, present or future claims arising
 in whole or in part, either directly or indirectly, out of the mining, manufacturing, distribution, sale, resale, rebranding, instal­
 lation, repair, removal, encapsulation, abatement, replacement or handling of, exposure to, ingestion of, testing for or failure
 to disclose the presence of, failure to warn or advise of silica, products containing silica, or products designed or used to
 protect from the inhalation, ingestion, contact with or any other exposure to silica, whether or not the silica is or was at any
 time airborne as a fume, dust, powder, fiber or particle, contained in a product, carried on clothing, inhaled, transmitted in any
 fashion or found in any form whatsoever.
 It is further agreed that this insurance does not apply to any loss, cost or expense including, but not limited to, payment for
 investigation or defense, fines, penalties, interest and other costs or expenses, arising out of or related to any:
 (1) Clean up or removal of silica or products and materials containing silica;
 (2) Such actions as may be necessary to monitor, assess and evaluate the release or threat of same, of silica or products and
     material containing silica;
 (3) Disposal of silica substances or the taking of such other action as may be necessary to temporarily or permanently pre­
     vent, minimize or mitigate damage to the public health or welfare or to the environment, which may otherwise result;
 (4) Compliance with any law or regulation regarding silica;
 (5) Existence, storage, handling or transportation of silica;
 (6) Any supervision, instructions, recommendations, warranties (express or implied), warnings or advice given or which
     should have been given.
 We shall have no duty to investigate, defend or indemnify any insured against any loss, claim, “suit,” demand, fine or other
 proceeding alleging injury or damages of any kind, to include but not limited to “bodily injury,” “property damage,” or “per­
 sonal and advertising injury” to which this endorsement applies.


              ELECTROMAGNETIC RADIATION EXCLUSION (ABSOLUTE)
 This insurance does not apply to:
      1.   “Bodily injury”, “property damage” or “personal and advertising injury”, including costs or expenses, arising out of,
           related to, caused by, contributed to by, or in any way connected with the actual or alleged exposure to, presence of,
           formation of or existence of “electromagnetic radiation”;
     2.    Any loss, claim, “suit”, cost or expense arising out of any request, demand, order, statutory, regulatory or govern­
           mental requirement that any insured or others for whom any insured is legally liable, test for, comply with standards
           for, monitor, clean up, remove, contain, treat, detoxify, neutralize, abate, mitigate or in any way respond to or assess
           the effects of “electromagnetic radiation”;
     3.    Any loss, claim, “suit”, cost or expense, including but not limited to fines or penalties, arising out of any failure to
           comply with any statutory, regulatory or governmental standards concerning acceptable levels of “electromagnetic
           radiation”;
     4.    Any supervision, instructions, recommendations, warnings or advice given or which should have been given in con­
           nection with Paragraphs 1., 2. or 3. above; or
     5.    Any obligation to share damages with or repay anyone else who must pay damages in connection with Paragraphs 1.,
           2., 3. or 4. above.
 “Electromagnetic radiation” means any form of electrical and magnetic energy, or electric and magnetic field(s) within the
 electromagnetic spectrum, whether naturally occurring or artificially created, regardless of source, and includes, but is not
 limited to, radio frequency radiation.
 We shall have no duty to investigate, defend or indemnify any insured against any loss, claim, “suit,” demand, fine or other
 proceeding alleging injury or damages of any kind, to include but not limited to “bodily injury,” “property damage,” or “per­
 sonal and advertising injury” to which this endorsement applies.




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                                                      its permission, 2012




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                                                                                                       EfFective Date: 03/01/2019


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       SPECIAL EXCLUSIONS - JOINT FORM
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM (OCCURRENCE VERSION)

                                 PRE-EXISTING DAMAGE EXCLUSION
 It is agreed under Section 1 Coverages, Coverage A Bodily Injury and Property Damage Liability, 1. Insuring Agree­
 ment, Paragraphs b (3), c and d are deleted in their entirety and the following exclusion is added to this policy:
 This insurance does not apply to:
     1.   Any damages arising out of or related to “bodily injury” or “property damage”, whether such “bodily injury” or
          “property damage” is known or unknown,
          (a) which first occurred prior to the inception date of this policy (or the retroactive date of this policy, if any;
              whichever is earlier); or
          (b) which are, or are alleged to be, in the process of occurring as of the inception date of the policy (or the retroac­
              tive date of this policy, if any; whichever is earlier) even if the “bodily injury” or “property damage” continues
              during this policy period.
     2.   Any damages arising out of or related to “bodily injury” or “property damage”, whether known or unknown, which
          are in the process of settlement, adjustment or “suit” as of the inception date of this policy (or the retroactive date of
          this policy, if any; whichever is earlier).
 We shall have no duty to defend any insured against any loss, claim, “suit”, or other proceeding alleging damages arising out
 of or related to “bodily injury” or “property damage” to which this endorsement applies.

                     EMPLOYMENT-RELATED PRACTICES EXCLUSION
 A. The following exclusion is added to Paragraph 2., Exclusions of Section I - Coverage A - Bodily Injury And Proper­
    ty Damage Liability:
     This insurance does not apply to:
     “Bodily injury” to:
          (1) A person arising out of any “wrongful employment act(s)”; or
          (2) The spouse, child, parent, brother, sister or registered domestic partner of that person as a consequence of “bodi­
              ly injury” to that person at whom any of the “wrongful employment act(s)” described in Paragraph (1) above is
              directed.
          This exclusion applies:
          (1) Whether any insured may be liable as an employer or in any other capacity;
          (2) To any obligation to share damages with or repay someone else who must pay damages because of the injury;
              and
          (3) Whether the “wrongful employment act(s)” occurs before employment, during employment or after employment
              of that person.




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 B. The following exclusion is added to Paragraph 2., Exclusions of Section I - Coverage B - Personal And Advertising
    Injury Liability:
     This insurance does not apply to:
     “Personal and advertising injury” to:
         (1) A person arising out of any “wrongful employment act(s)”; or
         (2) The spouse, child, parent, brother, sister or registered domestic partner of that person as a consequence of “per­
             sonal and advertising injury” to that person at whom any of the “wrongful employment act(s)” described in Par­
             agraph (1) above is directed.
         This exclusion applies:
         (1) Whether any insured may be liable as an employer or in any other capacity;
         (2) To any obligation to share damages with or repay someone else who must pay damages because of the injury;
             and
         (3) Whether the “wrongful employment act(s)” occurs before employment, during employment or after employment
             of that person.
 C. Additional Definitions:
     (1) “Wrongful employment act(s)” means any of the following actual, alleged or related acts committed by or on behalf
         of any insured arising out of a potential, actual or post employment relationship with any person:
         (a)   Discrimination or harassment because of race, color, religion, age, sex, disability, pregnancy, national origin,
               sexual orientation, marital status, or any other basis prohibited by law which results in termination of the em­
               ployment relationship, or demotion, or failure or refusal to hire or promote, or failure to accommodate an “em­
               ployee” or potential “employee”, or denial of an employment privilege, or the taking of any adverse or differen­
               tial employment action; or
         (b) Sexual harassment including unwelcome sexual advances, requests for sexual favors or other conduct of a sexual
             nature that is made a condition of employment, is used as a basis for employment decisions, or creates an intimi­
             dating, hostile or offensive work environment that interferes with work performance; or
         (c) Termination, constructive discharge, wrongful failure to hire, wrongful demotion, retaliation, misrepresentation,
             infliction of emotional distress, defamation, invasion of privacy, humiliation, wrongful evaluation, or breach of
             an implied contract or agreement relating to employment, whether arising out of any personnel manual, policy
             statement or oral representation; or
         (d) Physical assault or battery, or any other similar behavior that creates an intimidating, hostile, offensive or dan­
             gerous work environment; or
         (e) Training or failing to train any “employee” in accordance with any applicable federal, state or local law, regula­
             tion, ordinance, rule, guidance document or policy directive governing any act described in Paragraph C. (1) (a)
             through Paragraph C. (1) (d) above; or
         (0 Failure to comply with any applicable federal, state or local law, regulation, ordinance, rule, guidance document
            or policy directive related to the prevention of any act described in Paragraph C. (1) (a) through Paragraph C.
            (1) (d) above; or
         (g) malicious prosecution.




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                                                                                                     EfFective Date: 03/01/2019

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                HIRED AUTO AND NON-OWNED
                                      AUTO LIABILITY
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                               SCHEDULE

                                                          Limits of Insurance

                                            Endorsement Each Occurrence Limit $ 1,000,000

 Insurance is provided only with respect to those coverages for which a specific premium charge is shown:

                                  Coverage                                        Additional Premium

                 Non-Ownership Liability                                $ Included

                 Hired Auto Liability                                   $ Included

 (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as applicable
 to this endorsement.)


 A. HIRED AUTO LIABILITY                                                     This insurance does not apply to:
    The insurance provided under COVERAGE A BODI­                            a. “Bodily injury” or “property damage” for
    LY INJURY AND PROPERTY DAMAGE LIABIL­                                        which the insured is obligated to pay damages
    ITY (Section I - Coverages) applies to “bodily injury”                       by reason of the assumption of liability in a
    or “property damage” arising out of the maintenance or                       contract or agreement. This exclusion does not
    use of a “hired auto” by you or your “employees” in the                      apply to liability for damages:
    course of your business.                                                      (1) That the insured would have in the ab­
 B. NON-OWNED AUTO LIABILITY                                                          sence of the contract or agreement; or
     The insurance provided under COVERAGE A BODI­                                (2) Assumed in a contract or agreement that is
     LY INJURY AND PROPERTY DAMAGE LIABIL­                                            an “insured contract”, provided the “bodi­
     ITY (Section I - Coverages) applies to “bodily injury”                           ly injury” or “property damage” occurs
     or “property damage” arising out of the use of a “non-                           subsequent to the execution of the contract
     owned auto” by any person other than you in the course                           or agreement.
     of your business.                                                       b.   “Bodily injury” to:
 C. With respect to the insurance provided by this endorse­                       (1) An “employee” of the insured arising out
    ment:                                                                             of and in the course of:
     1.    Subparagraphs b., c., e., g., h., j., k., 1., m. and n. of                  (a) Employment by the insured; or
           paragraph 2., Exclusions of COVERAGE A -
           BODILY INJURY AND PROPERTY DAMAGE                                           (b) Performing duties related to the con­
           LIABILITY (Section I Coverages) do not apply.                                   duct of the insured’s business; or
     2.    The following exclusions are added to paragraph                   (2)       The spouse, child, parent, brother or sister
           2., Exclusions of COVERAGE A BODILY INJU­                         of that “employee” as a consequence of paragraph
           RY AND PROPERTY DAMAGE LIABILITY                                  (1) above.
           (Section I - Coverages):


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          This exclusion applies:                                            g.   That part of any contract or agreement entered
              (1) Whether the insured may be liable as an                         into, as part of your business, pertaining to the
                   employer or in any other capacity; and                         rental or lease, by you or any of your “employ­
                                                                                  ees”, of any “auto”. However, such contract or
              (2) To any obligation to share damages with                         agreement shall not be considered an “insured
                   or repay someone else who must pay the                         contract” to the extent that it obligates you or
                   damages because of the injury.                                 any of your “employees” to pay for “property
          This exclusion does not apply to:                                       damage” to any “auto” rented or leased by you
              (1) Liability assumed by the insured under an                       or any of your “employees”.
                   “insured contract”; or                          F.   For the purposes of this endorsement only, the follow­
              (2) “Bodily Injury” to domestic “employees”               ing definitions are added to the DEFINITIONS Section:
                   not entitled to workers’ compensation                1.   “Auto business” means the business or occupation
                   benefits.                                                 of selling, repairing, servicing, storing or parking
          c    “Property damage” to:                                         “autos”.
                                                                        2.   “Hired auto” means any “auto” you lease, hire, rent
             (1) Property owned or being transported by,
                 or rented or loaned to the insured; or                      or borrow.
                                                                             This does not include any “auto” you lease, hire,
             (2) Property in the care, custody or control of                 rent or borrow from any of your “employees”, your
                 the insured.                                                partners or your “executive officers”, or members
 D. For the purposes of this endorsement only, WHO IS AN                     of their households.
    INSURED (Section II) is replaced by the following:                  3.  “Non-owned auto” means any “auto” you do not
     Each of the following is an insured under this insurance               own, lease, hire, rent or borrow which is used in
     to the extent set forth below:                                         connection with your business. This includes “au­
                                                                            tos” owned by your “employees”, your partners or
     1. You.
                                                                            your “executive officers”, or members of their
     2. Any other person using a “hired auto” with your                     households, but only while used in your business or
          permission.                                                       your personal affairs.
     3.   With respect to a “non-owned auto”, any partner or       G. For the purposes of this endorsement only. SECTION
          “executive officer” of yours, but only while such           III - LIMITS OF INSURANCE is amended as follows:
          “non-owned auto” is being used in your business.              Paragraph 1. is deleted and replaced with the following:
     4.   Any other person or organization, but only with re­           1.   The Limits of Insurance shown in the SCHEDULE
          spect to their liability because of acts or omissions              of this endorsement and the rules below fix the
          of an insured under paragraphs 1., 2. or 3. above.
                                                                             most we will pay regardless of the number of:
 None of the following is an insured:
                                                                             a.   Insureds;
     1.   Any person engaged in the business of his or her
          employer with respect to “bodily injury” to any co­                b.   Claims made or “suits” brought; or
          employee of such person injured in the course of                   c.   Persons or organizations making claims or
          employment;                                                             bringing “suits.”
     2.   Any partner or “executive officer” with respect to            Paragraph 5. is deleted and replaced with the following:
          any “auto” owned by such partner or officer or a
          member of his or her household;                               5.   Subject to 2. or 3. above, whichever applies, the
                                                                             Endorsement Each Occurrence Limit is the most
     3.  Any person while employed in or otherwise en­                       we will pay for the sum of:
         gaged in performing duties related to the conduct of
         an “auto business”, other than an “auto business”                   a.   Damages under Coverage A; and
         you operate;                                                        b.   Medical expenses under Coverage C,
    4. The owner or lessee (of whom you are a sublessee)                because of all “bodily injury” and “property damage”
         of a “hired auto” or the owner of a “non-owned au­             arising out of any one “occurrence.”
         to” or any agent or “employee” of any such owner
         or lessee;
    5. Any person or organization with respect to the con­
         duct of any current or past partnership or joint ven­
         ture that is not shown as a Named Insured in the
         Declarations.
 E. For the purposes of this endorsement only, the defini­
    tion of “insured contract” in the DEFINITIONS Section
    is amended by the addition of the following:
     6.   “Insured contract” means:


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                                                                                                      Effective Date: 03/01/2019



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     INTELLECTUAL PROPERTY EXCLUSION
                (AMENDED DEFINITION OF PERSONAL AND ADVERTISING INJURY)

 This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
 I.   SECTION I-COVERAGES-COVERAGE B PER­                                    (2) Any false designation of the origin of a good,
      SONAL AND ADVERTISING INJURY LIABILITY                                     product or service.
      Exclusion i. is deleted in its entirety and replaced by                (3) Any deceptive, false, fraudulent, misleading,
      the following:                                                             unfair, unlawful or untrue business act or
      i.    “Personal and advertising injury” arising out of:                    practice.
            (1) Any infringement, disparagement, dilution or        II. The definition of “personal and advertising injury” in
                diminution of or damage to:                             the DEFINITIONS section of the COMMERCIAL
                (a) Copyright, slogan or title;                         GENERAL LIABILITY COVERAGE FORM is de­
                                                                        leted in its entirety and replaced by the following:
                (b) Patent;
                                                                        “Personal and advertising injury” means injury, includ­
                (c) Trademark, service mark, service name,              ing consequential “bodily injury”, arising out of one or
                    collective mark or certification mark, in­          more of the following offenses:
                    cluding without limitation any word,
                    name, symbol, device or any combination             a.   False arrest, detention or imprisonment;
                    thereof used to identify or distinguish the         b.   Malicious prosecution;
                    origin of a good, product or service;               c.   The wrongful eviction from, wrongful entry into,
                (d) Trade secret or practice;                                or invasion of the right of private occupancy of a
                (e) Trade dress, including without limitation                room, dwelling or premises that a person occupies,
                    any shape, color, design or appearance                   committed by or on behalf of its owner, landlord
                    used to distinguish the origin of a good,                or lessor;
                    product or service;                                 d.   Oral or written publication of material that slan­
                (f) Advertising ideas, concepts, campaigns,                  ders or libels a person or organization or dispar­
                    or style of doing business; or                           ages a person's or organization's goods, products
                                                                             or services; or
                (g) Any other proprietary property rights or
                    intellectual property rights recognized or          e.   Oral or written publication of material that vio­
                    implied by law.                                          lates a person's right of privacy.




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                                                                                                     EfFective Date: 03/01/2019

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               SELF-INSURED RETENTION ENDORSEMENT
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
     PRODUCTS-COMPLETED OPERATIONS LIABILITY COVERAGE FORM
     ALL OTHER COVERAGE FORMS

                                                             Schedule
     “Self-Insured Retention”     $                       Per Claim or Offense - Other than Products and Completed
                                                          Operations
                                  $                       Per Claim - Products and Completed Operations

                                  $   250,000             Per Occurrence or Offense - Other than Products and Completed
                                                          Operations
                                  $   250,000             Per Occurrence — Products and Completed Operations

                                  $                      Annual Aggregate - Other than Products and Completed Operations

                                  $                      Annual Aggregate - Products and Completed Operations

                                  $                      Annual Aggregate - Products and Completed Operations/Other than
                                                         Products and Completed Operations - Combined

 This insurance is subject to the following additional provisions. In the event of conflict with any provision elsewhere in this
 policy, the provisions of this endorsement will control the application of insurance to which the coverage provided by this
 policy applies.
     1.   Our total liability for all damages will not exceed the Limits of Insurance shown in the Declarations and the Limits of
          Insurance shown in the Declarations will apply in excess of your “self-insured retention”.
          It is a condition precedent to coverage under this policy that you will make actual payment of damages and “expens­
          es” payable under the “self-insured retention”. The “self-insured retention” must be paid by you, and may not be
          offset or reduced by contributions or recoveries from others. Payments by others, including but not limited to addi­
          tional insureds or insurers, will not satisfy the “self-insured retention”.
          The “self-insured retention” payable by you under this policy applies to this policy only, and will not be satisfied or
          reduced by amounts you pay or have paid to satisfy your obligations under any other policy.
          If the “self-insured retention” is subject to an annual aggregate, the entire aggregate amount shall be payable by you,
          even if the policy is terminated earlier than one year after the beginning of the policy period. If the policy period is
          longer than one year, the annual aggregate will apply separately to each consecutive annual period and to any re­
          maining period of less than one year, starting with the beginning of the policy period.
     2.   “Expenses” incurred are:

          I I Included in the “self-insured retention”
          I I Payable by you in addition to the “self-insured retention”




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   3.   We have the right in all cases, at our expense, to assume charge of the defense and/or settlement of any claim where
        we reasonably determine the settlement value or verdict potential exceeds your “self-insured retention”, and upon
        written request from us, you will tender such portion of the remaining “self-insured retention” as we may deem nec­
        essary to complete the settlement of such claim. Should you refuse to contribute toward that settlement and require
        us to continue with “legal proceedings”, then we will, from the date of your refusal to settle, be relieved of any obli­
        gation hereunder to pay an amount greater than the amount we would have paid if you had agreed to the settlement.
        Further, we will not be obligated to pay or contribute to any “expenses” related to such “legal proceedings” after
        your refusal to settle.
        Should your “self-insured retention” be exhausted by payment of damages and/or “expenses”, we will assume charge
        of the defense and settlement of any covered claim. At our discretion, we may substitute counsel of our choosing to
        continue with your defense, or we may continue with counsel originally chosen by you, but at hourly rates commen­
        surate with our panel counsel and according to our written Billing Practices and Procedures for Claim Litigation.
        SECTION IV, CONDITIONS, paragraph 2. DUTIES IN THE EVENT OF OCCURRENCE, CLAIM OR SUIT of
        the Coverage Form shall apply whenever a claim involves any of the following characteristics:
        (a) Your incurred amounts (reserves and paid) for any individual claim reach 50% of the “self-insured retention” or
            $25,000, whichever is less.
        (b) Fatality.
        (c) Serious “bodily injury”, including but not limited to, amputation, paralysis, brain damage or any cognitive or
            neurological disorders, second or third degree bums, sexual assaults, or any “bodily injury” involving a perma­
            nent injury of any kind.
        (d) Serious “property damage” or “personal and advertising injury” (if insured by this policy).
        (e) Punitive damages (whether or not insured by this policy).
        (f) Complaints/Petitions in which the amount requested exceeds the Limits of Insurance of our policy.
        (g) A potential dispute exists with respect to whether coverage is provided by our policy for the claim.
   4.   You must provide loss runs to us quarterly, or more frequently if requested in writing by us. The loss runs must in­
        clude the following information for all claims and incidents that may be reasonably expected to result in claims:
        a.   Claim number assigned by you or the Third Party Administrator (TPA).
        b.   Claimant’s name.
        c.   Litigation (yes/no).
        d.   Defense Counsel (firm name, address, and telephone number)-if applicable.
        e.   Date and location of loss.
        f.   Nature of injury/damages.
        g.   Description of loss.
        h.   Indemnity and expense reserves/payments (per claim and aggregate).
   5.   Your bankruptcy, insolvency or inability to pay the “self-insured retention” will not relieve us of or increase our ob­
        ligations under this policy. In the event of your bankruptcy, insolvency or inability to pay the “self-insured reten­
        tion”:
        a.   We will have the right but not the duty to defend a covered claim or “suit” at our own expense;
        b.   This policy will not replace the “self-insured retention”; and
        c.   Our Limits of Insurance will only apply in excess of the “self-insured retention”.
   6.   Should the estimated settlement value or verdict potential of any claim or incident appear likely to exceed the “self-
        insured retention”, no “expenses” may be incurred or offered by you on our behalf without prior written consent
        from us.
   7.   At our discretion, we may elect to monitor any claim file handled by you, the TPA or your chosen defense counsel.
        In that event, all parties agree to extend their full cooperation to us, or to our designee, regarding the reporting and
        communication to us of ongoing investigations and/or discovery.




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    8.   At our discretion, we may elect to conduct an audit of any claim file handled by you, the TPA or your chosen defense
         counsel. In that event, all parties agree to extend their full cooperation to us, or to our designee, by making their
         claim files fully accessible for our review. We shall be permitted to copy, at our cost, any document related to the
         investigation or defense of any claim.
    9.   If you have rights to recover all or part of any payment made by you or us under this insurance, or any payment we
         or you are obligated to pay, those rights are transferred to us. You must do nothing before or after loss to impair
         them without our written consent. At our request, you will bring suit or transfer those rights to us and help us en­
         force them.
     10. The “self-insured retention” applies to the coverage option and basis indicated by the placement of the “self-insured
         retention” amount in the Schedule above. The “self-insured retention” applies as follows:
         a.   If the “self-insured retention” indicated in the Schedule above is on a Per Claim or Offense basis, the “self-
              insured retention” applies to all damages sustained by any one person because of:
              (1) “Bodily injury” and “property damage” as the result of any one “occurrence”; and
              (2) “Personal and advertising injury” as the result of any one offense.
         If damages are claimed for care, loss of services or death resulting at any time from “bodily injury”, a separate “self-
         insured retention” will apply to each person making a claim for such damages.
         With respect to “property damage” and “personal and advertising injury”, person includes an organization.
         b.   If the “self-insured retention” indicated in the Schedule above is on a Per Occurrence or Offense basis, the “self-
              insured retention” applies to all damages because of:
              (1) “Bodily injury” and “property damage”; and
              (2) “Personal and advertising injury”;
              as the result of any one “occurrence” or offense, regardless of the number of persons or organizations who sus­
              tain damages because of that “occurrence” or offense.
         c.   If the “self-insured retention” is indicated in the Schedule above as subject to an Annual Aggregate, the Annual
              Aggregate will be the maximum amount payable by you for all “occurrences”, claims and offenses to which this
              insurance applies, unless the policy period is longer than one year. In that event, the Annual Aggregate will ap­
              ply separately to each consecutive annual period and to any remaining period of less than one year, starting with
              the beginning of the policy period.
     11. Definitions
         a.   “Expenses” means all costs and expenses listed under Supplementary Payments and includes, but is not limited
              to, amounts incurred by us or you for the investigation or defense of any claim or “suit”.
         b.   “Legal proceedings” means trial court proceedings and appeals, and alternative dispute resolution proceedings.
         c.   “Self-insured retention” means the amount shown in the Schedule, which you are obligated to pay, and only in­
              cludes amounts paid for injury or damage to which this insurance applies.




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                                                                                    EfFective Date: 03/01/2019


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   ADDITIONAL INSURED - DESIGNATED PERSON OR OR­
                    GANIZATION

 This endorsement modifies insurance provided under the following:


     COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                 SCHEDULE OF ADDITIONAL INSUREDS

 All additional interests as shown on a valid, unmodified ACORD Certificate of Insurance, requested in
 writing to the insurance agent stating the certificate holder’s relationship to the Named Insured.

 SECTION II - WHO IS AN INSURED is amended to include as an insured the person or organization
 shown in the Schedule as an Additional Insured, but only with respect to liability caused solely by the
 Insured’s ongoing operations or premises owned by or rented to the Insured. This insurance does not
 apply on any basis to the negligence of the Additional Insured or any third party.

 This insurance is excess over any other insurance, whether primary, excess, contingent or on any other
 basis available to the Additional Insured, including any self-insured retentions or deductibles, unless the
 Certificate of Insurance states this insurance is to apply on a primary basis.


 All other terms and conditions remain unchanged.




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                                                                                                     Effective Date: 03/01/2019



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   ASSAULT AND/OR BATTERY EXCLUSION

 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE FORM

 This insurance does not apply to “bodily injury”, “property damage” or “personal and advertising injury” arising out of, re­
 sulting from, or in connection with:

     1.   The failure to suppress or prevent “assault” or “battery” by you, any insured, or any person:

     2.   The failure to provide an environment safe from “assault” or “battery”, including but not limited to the failure to
          provide adequate security or failure to warn of the dangers of the environment which could contribute to “assault” or
          “battery”;

     3.   The failure to follow, implement, educate and/or enforce the “Risk Management Policies” of the First Named In­
          sured.

     4.   The negligent employment, investigation, hiring, supervision, training, or retention of any person;

     5.   The use of any force to protect persons or property whether or not the “bodily injury”, “property damage” or “per­
          sonal and advertising injury” was intended from the standpoint of the insured or committed by or at the direction of
          any insured;

     6.   The failure to render or secure medical treatment or care necessitated by an “assault” or “battery”.

 This exclusion applies only to insureds who “participate” in the “assault” or “battery”.

 For the purposes of this endorsement, the following definitions apply:

 “Assault” means the apprehension of harmful or offensive contact between or among two or more persons by threat through
 words or deed.

 “Battery” means the harmful or offensive contact between or among two or more persons.

 “Participate” means to take part in an excluded activity, whether as the direct perpetrator or someone who is supervising, di­
 recting or observing such excluded activity.

 “Risk Management Policies” are those written rules, regulations, or policies formally adopted by the National Board of Di­
 rectors of the First Named Insured and distributed by the First Named Insured.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     AMENDATORY ENDORSEMENT - DESIGNATED LOCATIONS
               GENERAL AGGREGATE LIMIT
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
     COMMERCIAL PROPERTY COVERAGE FORM
     LIQUOR LIABILITY COVERAGE FORM
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
     PROFESSIONAL LIABILITY COVERAGE FORM
     RAILROAD PROTECTIVE LIABILITY COVERAGE FORM

 It is agreed that paragraph D. as shown on the Designated Location(s) General Aggregate Limit
 (AD0868 1203) is hereby amended to read as follows:

         D.       For the purposes of this endorsement, the Definitions Section is amended by the
                  addition of the following definition:

  “Location” means premises involving the same or connecting lots, or premises whose connection is in­
   terrupted only by a street, roadway, waterway or right-of-way of a railroad. In addition, “Location” is
      defined as any undergraduate chapter of colony chartered and recognized by the Named Insured.




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  Policy Number: CA000017478-07                                                                                   AI08 76 02 03

                                                                                                      Effective Date: 03/01/2019



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        FRATERNAL ORGANIZATION
                           HAZING EXCLUSION
  This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE FORM

  It is agreed this insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" aris­
  ing out of “Hazing” committed by any insured.
      1. The failure to suppress or prevent “Hazing” by you, any insured, or any person:

     2.   The failure to provide an environment safe from “Hazing”, including but not limited to the failure to provide ade­
          quate security or failure to warn of the dangers of the environment which could contribute to “hazing”;

     3.   The failure to follow, implement, educate and/or enforce the “Risk Management Policies” of the First Named In­
          sured.

     4.   The negligent employment, investigation, hiring, supervision, training, or retention of any person;

     5.   The failure to render or secure medical treatment or care necessitated by “Hazing”.

  This exclusion applies only to those insured(s) who “participate” in the act of “Hazing”.

  For the purposes of this endorsement, the following definitions shall apply:

  “Hazing” means any action taken or situation created, intentionally, whether on or off fraternity premises, to produce
  mental or physical discomfort, embarrassment, harassment, or ridicule. Such activities may include but are not limited to
  the following: use of alcohol; paddling in any form; creation of excessive fatigue; physical and psychological shocks,
  quests, treasure hunts, scavenger hunts, road trips or any other such activities carried on outside or inside of the confines
  of a chapter house; wearing of public apparel which is conspicuous and not normally in good taste; engaging in public
  stunts and buffoonery; morally degrading or humiliating games and activities; and any other activities which are not con­
  sistent with academic achievement, fraternal law, ritual or policy or the regulations and policies of the First Named In­
  sured, educational institution or applicable state law.”

 “Participate” means to take part in an excluded activity, whether as the direct perpetrator or someone who is supervising,
 directing or observing the act of “Hazing”.

 “Risk Management Policies” are those written rules, regulations, or policies formally adopted by the National Board of Di­
 rectors of the First Named Insured and distributed by the First Named Insured.




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                                                                                                      Effective Date: 03/01/2019



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
            FRATERNAL ORGANIZATION
     SEXUAL ASSAULT, ABUSE AND MOLESTATION
                  EXCLUSION
  This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE FORM

  It is agreed this insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" aris­
  ing out of “sexual assault, abuse and molestation” committed by any insured.
      1. The failure to suppress or prevent “sexual assault, abuse and molestation” by you, any insured, or any person:

     2.   The failure to provide an environment safe from “sexual assault, abuse and molestation”, including but not limited to
          the failure to provide adequate security or failure to warn of the dangers of the environment which could contribute
          to “sexual assault, abuse and molestation”;

     3.   The failure to follow, implement, educate and/or enforce the “Risk Management Policies” of the First Named In­
          sured.

     4.   The negligent employment, investigation, hiring, supervision, training, or retention of any person;

     5.   The failure to render or secure medical treatment or care necessitated by “sexual assault, abuse and molestation”.

  This exclusion applies only to those insured(s) who “participate”, supervise, or direct others to “participate” in the “sex­
  ual assault, abuse and molestation”.

  For the purposes of this endorsement, the following definitions shall apply:

  “Sexual Assault, Abuse and Molestation” means but not limited to:
  1. Any sexual acts perpetrated against an individual’s will or when an individual is incapable of giving consent;
  2. Non-consensual sexual contact and non-consensual sexual intercourse;
  3. Any sexual touching, however slight, with any body part or object, by any individual upon another that is without
      consent and/or by force;
  4. Any sexual penetration, however slight, with any body part or object, by any individual upon another that is without
      consent and/or by force or coercion;
  5. Any sexual exploitation that occurs when an individual takes non-consensual or abusive sexual advantage of another
      for that individual’s own advantage or benefit, or to benefit or advantage of anyone other than the individual being
      exploited including but not limited to engaging in voyeurism; exposing one’s genitals in non-consensual circum­
      stances; inducing another to expose their genitals; going beyond the boundaries of consent; invasion of privacy;
      knowingly transmitting a sexually transmitted infection; non-consensual pictures, video, or audio-recording of sex­
      ual activity; possession, use, and/or distribution of alcohol or other drugs for the purpose of engaging in or facilitat­
      ing any form of “sexual assault, abuse and molestation”; prostituting another person.

 “Participate” means to take part in an excluded activity, whether as the direct perpetrator or someone who is supervising,
 directing or observing such “sexual assault, abuse and molestation”.
   “Risk Management Policies” are those written rules, regulations, or policies formally adopted by the National Board of
  Directors of the First Named Insured and distributed by the First Named Insured.




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  Policy Number: CA000017478-07                                                                                      AI08 76 02 03

                                                                                                        Effective Date: 03/01/2019



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           FRATERNITY
                                        ALCOHOL EXCLUSION

 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE FORM

 This insurance does not apply to “bodily injury”, “property damage” or “personal and advertising injury” arising out of, re­
 sulting from, or in connection with a violation of the First Named Insured’s “Alcohol Policy” including but not limited to:

     1.   Causing or contributing to the intoxication of any person;

     2.   The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of alcohol;

     3.   Failing to adhere to any statue, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic bev­
          erages;

     4.   The failure to follow, implement, educate and/or enforce the “Alcohol Policy” and/or the “Risk Management Poli­
          cies” of the First Named Insured;

     5.   The negligent employment, investigation, hiring, supervision, training, or retention of any person; or

     6.   The failure to render or secure medical treatment or care necessitated by a violation of “Alcohol Policy”.

 This exclusion applies only to insureds who “participate” in the violation of the “Alcohol Policy”.

 For the purposes of this endorsement, the following definitions apply:

 “Alcohol Policy” means the written guidelines, policies, bylaws or processes regarding the use and service of alcohol es­
 tablished by the First Named Insured.

 “Participate” means to take part in an excluded activity, whether as the direct perpetrator or someone who is supervising,
 directing or observing such excluded activity.

 “Risk Management Policies” are those written rules, regulations, or policies formally adopted by the National Board of
 Directors of the First Named Insured and distributed by the First Named Insured.




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Policy Number: CA000017478-07                                                                      AI 08 76 02 03

                                                                                        EfFective Date: 03/01/2019


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        SPECIFIED OPERATIONS EXCLUSION
                          WATER FEATURE OPERATIONS

This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL PROPERTY COVERAGE FORM
LIQUOR LIABILITY COVERAGE FORM
OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
PROFESSIONAL LIABILITY COVERAGE FORM
RAILROAD PROTECTIVE LIABILITY COVERAGE FORM

SPECIFIED ONGOING AND/OR COMPLETED OPERATIONS EXCLUSION:

This insurance does not apply to “bodily injury”, “property damage” or “personal and advertising
injury” arising out of “Waters Features” operations. This exclusion applies whether the operations are or
were performed by you or on your behalf or whether the operations are ongoing or have been completed
by you or on your behalf.

This limitation applies only to undergraduate chapters, and individual members or alumni, that
participate, plan, facilitate, or approve any activity addressed in this endorsement.

DEFINITIONS:

“Water feature ” means, an above ground pools, water fall, water slides, slip and slides and similar
structures. “Water feature” does not mean an in ground pool or fountain built and operated in accordance with
local building codes and ordinances.




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                                                                                                  EfFective Date: 03/01/2019


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     FRATERNITY
    WHO IS AN INSURED - AMENDATORY ENDORSEMENT
     This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE FORM

 SECTION II - WHO IS AN INSURED is amended to include each of the following as an insured but only while in in
 compliance with the “Risk Management Policies” of the First Named Insured, acting in their authorized capacity and within
 the scope of their duties:
          1.        “Undergraduate Chapters and Colonies”

          2.       “Undergraduate Members”

          3.       “Alumni/Alumnae Corporations” and “Volunteer Associations”

          4)       “Alumni/Alumnae Members” and “Alumni/Alumnae Volunteers”

 Admiral will consult with the National Board of Directors of the First Named Insured to determine if there is compliance with
 the “Risk Management Policies” of the Named Insured. However, the ultimate decision of compliance with the “Risk Man­
 agement Policies” and the resulting impact on coverage and any Self-Insured Retention under this policy is the sole responsi­
 bility and discretion of Admiral and will apply separately to each “insured”

 For purposes of this section, the following definitions apply:

 “Undergraduate Chapters and Colonies” mean chapters or colonies recognized as in good standing by the Board of Direc­
 tors of the First Named Insured.

 “Undergraduate Members” means the Undergraduate Officers, Undergraduate Directors, Undergraduate Members, Under­
 graduate Associate Members that affiliated with the entities listed in (1) above.

 “Alumni Corporations” and “Volunteer Associations” means House-holding Corporations, Chapter Education Founda­
 tions, House Associations, Alumni Control Boards, Alumni Advisory Boards, Alumni Associations, Alumni Volunteer Cor­
 porations, Alumni Chapters, Alumni Board of Advisors, Alumni Board of Governors, Alumni Executive Councils and Parent
 Clubs recognized by and in good standing with the Board of Directors of the First Named Insured.

 “Alumni/Alumnae Members” and “Alumni/Alumnae Volunteers” means Officers, Directors, Trustees, Partners, Employ­
  ees, Coordinators, Custodians, Committee Members, Council Members, Volunteers (not including undergraduate members),
  House Parents, Resident Scholars, Faculty Advisors, Alumni/Alumnae Members of those entities listed in (3) above recog­
  nized and in good standing with the Board of Directors of the First Named Insured.

 “Risk Management Policies” are those written rules, regulations, or policies formally adopted and distributed from time to
 time by the National Board of Directors of the First Named Insured.




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  Policy Number: CA000017478-07                                                                                AI08 76 02 03

                                                                                                    Effective Date: 03/01/2019


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   HIRED AUTO AND NON-OWNED AUTO LIABILITY INDI­
                 VIDUAL EXCLUDED
 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 COMMERCIAL EXCESS LIABILITY COVERAGE FORM
 LIQUOR LIABILITY COVERAGE FORM
 OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
 PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
 PROFESSIONAL LIABILITY COVERAGE FORM
 RAILROAD PROTECTIVE LIABILITY COVERAGE FORM




 It is agreed that the second paragraph “None of the following is an insured” as shown under 2. WHO IS AN INSURED (Sec­
 tion II) of the Hired And Non-Owned Auto Liability Endorsement is amended to include the following:

         f. Any individual while using a hired of non-owned auto for or on behalf of any Insured.




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  Policy Number: CA000017478-07                                                                                     AI44 02 08 18

                                                                                                       Effective Date: 03/01/2019



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                  SERVICE OF SUIT
                           (NOT APPLICABLE IN DELAWARE
                                 AND NEW JERSEY)

 Pursuant to any statute of any state, territory or district of the United States which makes provision therefore, the Company
 hereby designates the Superintendent, Commissioner or Director of Insurance or other Officer specified for that purpose in the
 Statute, or his/her successor or successors in office, as its true and lawful attorney upon whom may be served any lawful process
 in any action, suit or proceeding instituted by or on behalf of you or any beneficiary hereunder arising out of this contract of
 insurance, and hereby designates the below named as the person to whom the said Officer is authorized to mail such process
 or a true copy thereof.
 It is further agreed that service of process in such suit may be made upon Janet Shemanske, or her nominee of the Company at
 7233 East Butherus Drive, Scottsdale, Arizona 85260, and that in any suit instituted against the Company upon this policy, it
 will abide by the final decision of such Court or of any Appellate Court in the event of an appeal. Nothing herein shall constitute
 a selection or designation of forum, or a waiver of any of the Company’s rights to select a forum or court, including any of the
 federal courts of the United States. This includes any right to commence an action in or remove or transfer an action to the
 United States District Court or any other court of competent jurisdiction, as permitted by law.
 Further, pursuant to any statute of any state, territory or district of the United States of America or province of Canada, which
 makes provision therefore, we hereby designate the Superintendent, Commissioner or Director of Insurance or other officer
 specified for that purpose in the statute, or his successor or successors in office, as our true and lawful attorney upon whom
 may be served any lawful process in any action, suit or proceeding instituted by you or on your behalf or any beneficiary
 hereunder arising out of this contract of insurance, and we hereby designate the above named as the person to whom the said
 officer is authorized to mail such process or a true copy thereof.




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